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 1                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 2

 3
       UNITED STATES OF AMERICA                )
 4                                             )
       vs.                                     ) Criminal Action
 5                                             )
       HERZZON SANDOVAL,                       ) No. 15-10338-FDS
 6     EDWIN GUZMAN,                           )
       CESAR MARTINEZ,                         )
 7     ERICK ARGUETA LARIOS,                   )
                          Defendants           )
 8

 9
       BEFORE:    THE HONORABLE F. DENNIS SAYLOR, IV
10

11
                                  JURY TRIAL DAY 14
12

13
                  John Joseph Moakley United States Courthouse
14                               Courtroom No. 2
                                1 Courthouse Way
15                              Boston, MA 02210

16                                February 16, 2018
                                     8:35 a.m.
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23                              Valerie A. O'Hara
                             Official Court Reporter
24                John Joseph Moakley United States Courthouse
                           1 Courthouse Way, Room 3204
25                              Boston, MA 02210
                            E-mail: vaohara@gmail.com
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 1     APPEARANCES:

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       For the Defendant Herzzon Sandoval:
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 1                                     I N D E X

 2     WITNESS                               DIRECT   CROSS REDIRECT RECROSS

 3     MAURICIO   SANCHEZ
         By Mr.   Lopez                                 11
 4       By Mr.   Iovieno                               14
         By Ms.   Rodriguez                             20
 5       By Mr.   Norkunas                              24
         By Ms.   Lawrence                                        28
 6       By Mr.   Lopez                                                        32

 7     BRIAN ESTEVEZ
         By Ms. Lawrence                       33                 92
 8       By Mr. Murphy                                  60                     95
         By Mr. Iovieno                                 88
 9       By Mr. Lopez                                   90

10

11     EXHIBITS                                        FOR I.D.    IN EVIDENCE

12       232                                                             104
         233                                                             105
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           1                                   PROCEEDINGS

           2                 THE CLERK:    All rise.   Thank you.   Please be seated.

           3     Court is now back in session.

           4                 THE COURT:    Good morning.   What, if anything, do we

           5     have to talk about?      Let me raise something if you can't think

           6     of anything.    I have been handed things over the course of the

           7     trial with the suggestion that they would come up at some

           8     point, and I would need to rule on them.

           9                 One of them is the Threat and Risk Assessment from

08:35AM   10     Agent Wood, which I reviewed in camera.         Is he going to be

          11     recalled?    What is the plan there?      And do I need to rule on

          12     this?

          13                 MR. POHL:    Well, your Honor, we provided to you, to be

          14     absolutely clear, my understanding is that while

          15     Special Agent Wood testified he prepared it, I don't think he's

          16     actually the one that signed it, it's signed by the actual

          17     special agent-in-charge, but Mr. Murphy had requested it.           We

          18     had suggested that we didn't think it was discoverable, I

          19     guess, both because it's not technically Jencks, and, B,

08:35AM   20     because of the material that's in it, and we provided it to you

          21     for that reason.     I certainly do not intend to recall

          22     Special Agent Wood.

          23                 I think to the extent if Mr. Murphy's question was,

          24     you know, did Special Agent really work on it and prepare a

          25     Threat Assessment, the answer to that question now is yes, and,
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           1     you know, is it information that's relevant, material

           2     discoverable in this case, I think the answer to that question

           3     is no, and that's why we provided it to you.

           4                I got permission from the Ops, Operations, to provide

           5     it to you for your review.       Mr. Murphy's requested it in

           6     discovery.    We've declined to produce it, so I'd ask you,

           7     essentially I think at this point, especially given the state

           8     of play and the evidence and where we are in the trial that I

           9     don't think it's discoverable, particularly in light of the

08:36AM   10     fact that CW-1 is not going to be a witness.

          11                THE COURT:      One of the reasons I'm asking, what I have

          12     is redacted, that which is readable is unremarkable, I guess,

          13     and the thought occurred to me that I could seal it, provide it

          14     to counsel with the instructions that they're to review it and

          15     then decide whether we need to take it to the next step.

          16                Unless I'm missing something, it all seemed pretty

          17     unremarkable and not much in there that wasn't in The Globe

          18     article.     Mr. Murphy.

          19                MR. MURPHY:      That is one of the points I was going to

08:37AM   20     be making, however, I think it is Jencks, whether or not the

          21     agent signed it, if he prepared it or his office endorsed it,

          22     it is Jencks.

          23                THE COURT:      It probably, if he wrote it, if other

          24     people edited it, signed it, it starts to get less clear.

          25                MR. MURPHY:      In other words, we asked for it before
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           1     trial, and we asked for it after he testified on direct.           I

           2     think that we should be at least entitled -- looking at it, I

           3     can see a little bit here that looks like large black sections,

           4     so we would -- we think we are entitled, your Honor, to the

           5     entire Threat Assessment as Jencks material,

           6     Special Agent Wood, so we can see whether or not when we review

           7     that we would want to recall Special Agent Wood to examine him

           8     about any potential inconsistency between his trial testimony

           9     and what he either wrote or endorsed in connection with this,

08:38AM   10     with the Threat Assessment.

          11                And, again, I recognize it was a former Assistant U.S.

          12     Attorney, but a former U.S. Attorney has spoken publicly with

          13     The Globe, which I think has been marked for identification

          14     about many of the issues that would likely appear in whatever

          15     sections of the Threat Assessment the Court agreed to.

          16                The last thing I would say, your Honor, I do not

          17     frankly understand the government's position that there is a

          18     category of information that is not discoverable.          It's not to

          19     my knowledge protected by either federal common law or

08:39AM   20     statutory privilege.      If it's Jencks Act material, I would

          21     suggest to the Court that we would -- we are entitled to see it

          22     after Special Agent Wood testifies.

          23                THE COURT:    All right.    I'm going to take it a step at

          24     a time.    What I'm going to do is this.       I'm going to permit it

          25     to be produced to counsel under seal a step at a time.            We can
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           1     then talk about, you know, what the next step beyond that,

           2     whether there should be a next step.

           3                I mean, you know, my guess is that the sections of

           4     this document that talk about how brutal and violent MS-13 is

           5     you're not probably going to elicit that from anyone as part of

           6     the defense case.      Why don't we do that, if there's any reason

           7     for me to make a further ruling.

           8                I'm doing that as a matter of prudence.        I'm not

           9     ruling it is Jencks because I know I need more information to

08:39AM   10     know that or not, but because I think it may short circuit the

          11     whole discussion once you've seen this thing, I think I'm going

          12     to handle it that way, so it will be provided to counsel only

          13     under seal.    That's a provisional ruling, just to, again, cabin

          14     the issue and take it a step at a time.         Okay.

          15                MR. POHL:    Yes, your Honor.

          16                THE COURT:    Mr. Murphy.

          17                MR. MURPHY:    Your Honor, the Court at the end of the

          18     day yesterday mentioned jury instructions.

          19                THE COURT:    Yes.

08:40AM   20                MR. MURPHY:    And I don't know whether the Court has

          21     already formulated its preliminary or its proposed jury

          22     instructions or whether the Court would be planning to do that

          23     between now and Monday.

          24                THE COURT:    Here's my plan.    We have a working draft.

          25     It is exactly that, a working draft.        Some of that is, I think,
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           1     complete like what is the burden of proof, things like that,

           2     others less so.     My plan was to circulate it later today as

           3     Draft 1 just so you can look at it and get the discussion

           4     going.

           5                As to anything that is disputed, I've obviously made

           6     no final decisions, but some of this is, you know, cut and

           7     paste, pattern instructions, things like that that may change,

           8     but just to get the ball rolling, that's what my plan was to

           9     have my -- at the moment my law clerk and I are sufficiently

08:41AM   10     satisfied we won't embarrass ourselves by circulating it, we

          11     will circulate it, but you'll have it for the weekend.

          12                MR. MURPHY:    Thank you, your Honor.      I wonder if the

          13     Court may entertain one point, our proposed jury instructions.

          14                THE COURT:    Yes.

          15                MR. MURPHY:    We proposed consistently, your Honor,

          16     that rather than use the terminology "join the conspiracy,"

          17     which the Court used in the first trial that the Court replace

          18     that with the actual statutory language, "agree to participate

          19     in a conduct of the affairs of the enterprise."

08:41AM   20                THE COURT:    I actually like that change and have made

          21     it.   Again, it's not a final decision but actually "joining"

          22     makes a little more sense here than it does in the normal case

          23     where you're creating a conspiracy, not really joining, but I

          24     think that change is appropriate.

          25                We did note, by the way, going over the actual
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           1     language of the indictment that the indictment doesn't charge

           2     firearm offenses as predicate acts, but I think it does -- I

           3     think it's under manner and means of the conspiracy, something

           4     like that, there's a reference to firearms.         It probably would

           5     be confusing to put any of that in the jury instructions, so

           6     I'm not planning to.

           7                One of the wrinkles in this case is normally I give

           8     the indictment to the jury.       We agreed last time that that was

           9     problematic.    I would prefer not doing it here, but I do have

08:42AM   10     to describe what is the conspiracy with which they have been

          11     charged, and that's kind of complicated, so we need to somehow

          12     figure that out.

          13                In other words, I give them an instruction they're

          14     charged with this conspiracy, and that's the only decision

          15     they're to make, and if they conclude they either weren't part

          16     of that conspiracy or that conspiracy didn't exist or they were

          17     part of a different conspiracy, then they're to acquit, and

          18     it's only the indictment charged in the conspiracy, so I have

          19     to describe -- the conspiracy charged, I have to describe what

08:43AM   20     that conspiracy is, and I'm going to have to summarize it in

          21     some form or another.      Even reading it verbatim is complicated,

          22     61 alleged participants, but if I have to do that, I'll do.

          23                MR. POHL:    Well, we'll think about that and have a

          24     proposal for you.      This came up in a different context in a

          25     case I charged before Judge Stearns a few months ago.             We ended
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           1      up not sending the indictment back to the jury and discussing a

           2      proposal how to describe the conspiracy.

           3                THE COURT:    I'm hopeful we can work this out in some

           4      kind of summary fashion that is fair.

           5                MR. POHL:    Ms. Lawrence and I, we don't oppose your

           6      inclination to not send the formal indictment back.

           7                THE COURT:    That's one of the issues we need to talk

           8      about.   Mr. Lopez.

           9                MR. LOPEZ:    Yes, your Honor.     After leaving yesterday,

08:44AM   10      I turned on NPR, and there was an extensive interview involving

          11      MS-13 and the immigration consequences, and I didn't listen to

          12      all of it, but my concern is that if any of the jurors happened

          13      to listen to NPR, which is pretty popular --

          14                THE COURT:    Less so than you might think, but I'm

          15      happy to make the inquiry.      If it were on sports radio, it

          16      might have a bigger problem, but I'll make the inquiry.

          17                MR. LOPEZ:    I think they're all in the sensitivity

          18      training today, your Honor.

          19                THE COURT:    Okay.   Anything else?     Okay.

08:45AM   20                THE CLERK:    All rise.

          21                (A recess was taken.)

          22                THE CLERK:    All rise for the jury.

          23                (JURORS ENTERED THE COURTROOM.)

          24                THE CLERK:    Thank you.    You may be seated.

          25                THE COURT:    Good afternoon, everyone.       Good morning.
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           1      I think it's morning.        Mr. Sanchez, you understand that you're

           2      still under oath?

           3                   THE WITNESS:    Yes.

           4                   THE COURT:     All right.   Mr. Lopez.

           5                   MR. LOPEZ:     Thank you, your Honor.

           6                                    MAURICIO SANCHEZ

           7                           CROSS-EXAMINATION, CONTINUED

           8      BY MR. LOPEZ:

           9      Q.    Good morning, Mr. Sanchez.

09:04AM   10      A.    Good morning.

          11      Q.    Now, Mr. Sanchez, do you remember after signing your

          12      proffer agreement how many times you met with the government?

          13      A.    Several times.

          14      Q.    Did you meet with them on February 16, 2016?

          15      A.    Yes.

          16      Q.    And March 3, 2016?

          17      A.    I don't remember the dates, I just remember that I met.

          18      Q.    And August 16, 2016?

          19      A.    Yes.

09:05AM   20      Q.    And, again, on September 30, 2016?

          21                   THE INTERPRETER:       September 30th?

          22      Q.    September 30, 2016?

          23      A.    Yes.

          24                   MR. LOPEZ:     Your Honor, I've created a chalk which I'd

          25      ask to have on the screen.
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           1                     THE COURT:   All right.

           2      Q.      Now, directing your attention to your February 16, 2016

           3      proffer, do you recall telling the government that the Eastside

           4      clique is not that active of a clique?

           5      A.      I did tell them that.

           6      Q.      Okay.    And you said that the most violent member of the

           7      clique was Muerto?

           8      A.      Yes.

           9      Q.      And in your -- in your March proffer, did you tell them

09:06AM   10      that Muerto was a drug dealer?

          11      A.      Yes.

          12      Q.      And you told them that Muerto supplied MS gang members

          13      with cocaine?

          14      A.      Not just to MS-13, he sold cocaine to non-MS members as

          15      well.

          16      Q.      Well, I was going to get there, but not only -- others as

          17      well?

          18      A.      Yes.

          19      Q.      And he supplied cocaine in $40 bags?

09:07AM   20      A.      Yes.

          21      Q.      And $100 bags?

          22      A.      Yes.

          23      Q.      And he supplied you with cocaine?

          24      A.      Yes.

          25      Q.      And you paid for it?
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           1      A.    Yes.

           2      Q.    And Muerto also used a runner to deliver his drugs; is

           3      that correct?

           4      A.    Sometimes he would send Chentino.

           5      Q.    And Chentino would deliver the drugs?

           6      A.    Yes.

           7      Q.    And also collect the money?

           8      A.    Yes.

           9      Q.    And the money would go back to Muerto?

09:08AM   10      A.    Yes.

          11      Q.    And Muerto didn't share his profits with the clique,

          12      right?

          13      A.    I don't know about that.

          14      Q.    Okay.   Now, during your proffers, you also told the

          15      government about crimes that you had committed, right?

          16      A.    Yes.

          17      Q.    And during those four proffer sessions, you never told the

          18      government that you committed any murders, correct?

          19      A.    No.

09:09AM   20      Q.    Because you've never committed any murders, right?

          21      A.    No.

          22      Q.    In fact, you testified yesterday about going with Animal

          23      to look for Gallo, you also told the government that you

          24      intentionally misled Animal because you were reluctant to be

          25      involved with a murder, right?
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           1      A.    Yes.

           2      Q.    And you also told the government that you didn't shoot

           3      your mother?

           4      A.    Yes.

           5      Q.    Rather, you told the government that you witnessed an

           6      attack on your mother in Honduras by organized crime figures,

           7      right?

           8      A.    Yes.

           9      Q.    But that's not what you told members of the Eastside

09:10AM   10      clique, right?

          11      A.    No.

          12      Q.    You told them that you shot your mother, right?

          13      A.    Yes.

          14      Q.    And you told them that you had committed murders, right?

          15      A.    Yes.

          16      Q.    In fact, you told them that you committed seven murders,

          17      right?

          18      A.    Yeah, I used to show off like that.

          19                   MR. LOPEZ:   No further questions, your Honor.

09:10AM   20                   THE COURT:   Okay.

          21                                  CROSS-EXAMINATION

          22      BY MR. IOVIENO:

          23      Q.    Good morning, Mr. Sanchez.

          24      A.    Good morning.

          25      Q.    My name is Thomas Iovieno.      I represent Mr. Larios and I
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           1      just have a few questions for you.       I believe you testified

           2      that you met Mr. Larios in 2010?

           3      A.    Yes.

           4      Q.    And you were working for a trash removal company?

           5      A.    Yes.

           6      Q.    And when you met Mr. Larios, you understood that he had a

           7      family?

           8      A.    I met him.     I did not meet his family.

           9      Q.    But you've known him from 2010, you still know him today,

09:12AM   10      you know during that period of time that Mr. Larios was married

          11      and had children?

          12      A.    Yes.

          13      Q.    And you also knew that he was working in the community

          14      with Russell Disposal, a trash removal company?

          15      A.    Yes.

          16      Q.    And I think you testified that you were jumped in to

          17      Eastside in March of 2013, right?

          18      A.    It was in 2013.    I don't recall the month or the date.

          19      Q.    Fair enough.    But I think you testified you also were

09:13AM   20      drunk at the time that you were jumped in?

          21      A.    Yes.

          22      Q.    Okay.   And that's against the rules, correct?

          23      A.    Yes.

          24      Q.    Is it fair to say that throughout your -- the period of

          25      time that you were associated with Eastside, you had a
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           1      substance abuse problem, both with cocaine and with alcohol?

           2      A.    Yes.

           3      Q.    And it's fair to say that you didn't hang around with

           4      Mr. Larios that much, did you?

           5      A.    No.

           6      Q.    And you would see him periodically at meetings, right?

           7      A.    You asked me if it was, and I said no, it wasn't correct,

           8      I did hang out with him a lot.

           9      Q.    Oh, you hung with him outside of meetings?

09:14AM   10      A.    Almost every weekend.

          11      Q.    Okay.   And you would see Lobo in restaurants and bars?

          12      A.    Yes.

          13      Q.    And you also saw him at meetings that you attended, right?

          14      A.    Yes.

          15      Q.    Okay.   And is it fair to say at some point in 2015 that

          16      Lobo, he had missed some meetings, correct?

          17      A.    Yes.

          18      Q.    And he was questioned about that at a meeting, right?

          19      A.    Yes.

09:14AM   20      Q.    And they wanted an explanation from him of where he had

          21      been, where are you?

          22      A.    Yes.

          23      Q.    And is it also fair to say that during this period of time

          24      you were hanging around with Muerto and Pelon quite a bit,

          25      right?
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           1      A.    I hung around with everyone in the clique.         All of us who

           2      were active would go out on weekends to look for chavalas, so I

           3      don't know why you're focusing only on Muerto and Pelon because

           4      we were all MS-13.

           5      Q.    Well, you said that you were close with Muerto?

           6      A.    I got along well with him, yes.

           7      Q.    And you described him as well respected and solid in your

           8      mind, right?

           9      A.    Yes.

09:15AM   10      Q.    And you testified that you hung around in October of 2015

          11      with Animal?     You met Animal and you hung around with him a

          12      little bit?

          13      A.    No, I met him in October of 2015 but I started hanging out

          14      with him in December.

          15      Q.    Okay.    That's when you committed the beating and the

          16      stabbing, correct, with Animal?

          17      A.    Yes.

          18      Q.    And Muerto at the time, around the fall of 2015, it's fair

          19      to say that you were at a meeting when Muerto complained that

09:16AM   20      nobody was out in the street, right?

          21                   MR. MURPHY:    Objection, your Honor.

          22                   THE COURT:    Overruled.

          23                   THE INTERPRETER:    I'm sorry, could you repeat the

          24      question?

          25      Q.    You were at a meeting when Muerto complained that nobody
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           1      was out in the street?

           2      A.    That's what he was saying but, in fact, we were going out

           3      every weekend.     I was going out with the runners, with Lobo,

           4      and with various members of the clique.

           5      Q.    Okay.    But at that meeting you said no one is in the

           6      street, correct?

           7                   MR. MURPHY:    Can I have a standing objection, your

           8      Honor.

           9                   THE COURT:    Yes.

09:17AM   10      Q.    You were at that meeting, correct?

          11      A.    Yes.

          12      Q.    And you said no one was out in the street.         That's what

          13      you said?

          14      A.    That's what they were saying so I was just following

          15      along.

          16      Q.    Okay.    Because it's fair to say that during meetings --

          17      Mr. Lopez asked you questions, and it wasn't unusual for you to

          18      show off, to brag and embellish about what you were doing,

          19      right?

09:18AM   20      A.    Mostly the time when I would go, I was drunk.         A drunk

          21      person always like to make things up.        It's not the same as a

          22      person that is sober.

          23      Q.    So you were drunk at a lot of meetings and you made a lot

          24      of things up, right?

          25      A.    Not at the meetings, more on the weekends when I was
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           1      drunk.

           2      Q.    But it was important for you to appear tough, strong, and

           3      to be feared, right?

           4      A.    That's what I wanted them to think.

           5      Q.    Because it gave you status within the Eastside clique,

           6      right?

           7      A.    Because not just the Eastside, but in all of MS-13, you

           8      can't show any weakness, you have to show that you're strong

           9      and bad.

09:19AM   10      Q.    And you did that by making things up, right?

          11      A.    Yes.

          12      Q.    And Mr. Lopez asked you a question about a conversation

          13      you had with the government about Eastside not being that

          14      active a clique, right?      Do you remember that?

          15                   THE INTERPRETER:   I'm sorry, could you repeat for the

          16      interpreter?

          17      Q.    Yes.    Mr. Lopez asked you a question a few minutes ago

          18      about your statements to the government in February that you

          19      said that Eastside was not that active a clique?

09:20AM   20      A.    At that time that's what I said, but in fact, Eastside was

          21      one of the biggest cliques in Boston.        It had the -- one of the

          22      cliques that had the most members.

          23      Q.    It had the most members but you told them it wasn't that

          24      active, right?

          25      A.    During the time that I was there, yes.
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                                                                                    14-20




           1      Q.    And you also told the government that the members were

           2      mostly older?

           3      A.    Yes.

           4      Q.    And they mostly engage in bar fights, right?

           5      A.    Yes.

           6                   MR. IOVIENO:    Thank you, I have no further questions.

           7                   THE COURT:     Ms. Rodriguez.

           8                                    CROSS-EXAMINATION

           9      BY MS. RODRIGUEZ:

09:21AM   10      Q.    Good morning, Mr. Sanchez.

          11      A.    Good morning.

          12      Q.    My name is Madeleine Rodriguez, and I represent

          13      Mr. Sandoval, and I just have a few questions for you this

          14      morning.

          15      A.    All right.

          16      Q.    Mr. Sanchez, it was your testimony yesterday that you

          17      bought a gun for personal use in December 2014, correct?

          18      A.    Yes.

          19      Q.    And you also testified that Mr. Sandoval took it away from

09:22AM   20      you because he was concerned that you might hurt someone,

          21      correct?

          22      A.    The truth is this.       As I told you, I bought the gun

          23      because I had a problem at work.        A guy had threatened to beat

          24      me up, so I bought a gun and so that I would beat him up first.

          25      That was the reason I bought the gun.
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           1      Q.    But after you bought the gun, you were getting drunk and

           2      acting a little crazy and so Mr. Sandoval took the gun away

           3      from you as a result of that.       That was your testimony,

           4      correct?

           5      A.    Yes.

           6      Q.    And, in fact, you had already shot the gun accidentally

           7      before Mr. Sandoval took it away from you, correct?

           8      A.    Yes.

           9      Q.    One day you were driving in the car with Chentino and

09:23AM   10      Flaco?

          11      A.    Yes.

          12      Q.    You were drunk?

          13      A.    Yes.

          14      Q.    And you pulled out the gun in the car and you accidentally

          15      shot around, correct?

          16      A.    Yes.

          17      Q.    And that bullet almost hit Flaco, correct?

          18      A.    No.

          19      Q.    It was after that incident that Mr. Sandoval took the gun

09:24AM   20      away from you, correct?

          21      A.    Yes.

          22      Q.    Okay.   You also testified that you met Animal in October

          23      2015, correct?

          24      A.    Yes.

          25      Q.    And you knew that Animal had entered the United States
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 22 of 113
                                                                                    14-22




           1      illegally, correct?

           2      A.      He didn't tell me that.

           3      Q.      Did you ever talk to him about his immigration status?

           4      A.      Later on in December when we got together, he did tell me

           5      that.

           6      Q.      And he told you that he was in the United States

           7      illegally, correct?

           8      A.      Yes.

           9      Q.      And you've already testified that you also entered the

09:25AM   10      country illegally, correct?

          11      A.      Yes.

          12      Q.      And you've known people who have come into this country

          13      without any legal status who have been deported, correct?

          14      A.      Yes.

          15      Q.      And you know some clique members who have been deported,

          16      correct?

          17      A.      Yes.

          18      Q.      And it's your understanding, sir, correct, based on these

          19      experiences and observations that if you were in this country

09:25AM   20      illegally, you could be arrested by immigration at any time,

          21      correct?

          22      A.      Yes.

          23      Q.      That's a risk as an immigrant in this country without

          24      status that you have to be concerned about on a day-to-day

          25      basis?
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           1      A.      Yes.

           2      Q.      But by joining a clique, you were at least guaranteed that

           3      if you did get deported, your fellow clique members would

           4      collect money to possibly bring you back into the

           5      United States, correct?

           6      A.      I didn't join with that end.    I realized that after I had

           7      already joined the clique when members had been deported and

           8      were down below that would call the clique to get help to come

           9      back.

09:26AM   10      Q.      So it was one of the benefits of joining the clique.      If

          11      you got deported, the clique would collect money and help bring

          12      you back into this country, correct?

          13      A.      Yes.

          14      Q.      And they could also possibly help your family by

          15      collecting money to assist your family while you were outside

          16      the country, correct?

          17      A.      Possibly, yes.

          18      Q.      Mr. Sanchez, you've testified a few times now about having

          19      a drinking and drug problem, correct?

09:27AM   20      A.      I had a problem.

          21      Q.      Is it fair to say that the more you drank, the more

          22      trouble you got in?

          23      A.      Every person that's drunk will have more and more problems

          24      the more he drinks.

          25      Q.      And the same, the more you did drugs, the more problems
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 24 of 113
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           1      you had, correct?

           2                   MS. LAWRENCE:    Objection, your Honor.

           3                   THE COURT:   I'll allow it.

           4      A.    Not exactly when I used drugs did I get in trouble or look

           5      to get in trouble, but I was always looking to get in trouble.

           6      Q.    And Mr. Sandoval tried to get you to stop drinking and

           7      doing drugs, correct?

           8      A.    Yes.

           9                   MS. RODRIGUEZ:    May I have a moment, your Honor?

09:29AM   10                   THE COURT:   Yes.

          11                   MS. RODRIGUEZ:    No further questions, your Honor.

          12                                    CROSS-EXAMINATION

          13      BY MR. NORKUNAS:

          14      Q.    Good morning, sir.

          15      A.    Good morning.

          16      Q.    In relation to what you have told us about Muerto's sale

          17      of drugs, do you recall a time when -- that you had gone to his

          18      shop and when you were purchasing some drugs, he had numerous

          19      other bags set up for distribution?

09:29AM   20      A.    Yes.

          21      Q.    Now, was there a time when you were with Mr. Muerto and

          22      Pelon and you were in Pelon's car and Pelon showed you a hidden

          23      compartment where he kept a firearm and there was a firearm in

          24      there?

          25      A.    It wasn't a hidden compartment.       It was just a gun that he
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 25 of 113
                                                                                    14-25




           1      had in the car in some compartment.

           2      Q.    And from your familiarity with Muerto and Pelon, was that

           3      a gun that he consistently kept in the car?

           4                   MR. LOPEZ:   Objection, your Honor.    May we be heard?

           5                   MR. NORKUNAS:   I'll withdraw the question.

           6                   THE COURT:   All right.

           7      Q.    Now, you were asked to look at a series of photographs of

           8      various people, correct?

           9      A.    Yes.

09:31AM   10      Q.    And once you were able to identify anybody in the

          11      photograph, you were then asked by the government what you knew

          12      about that person in relation to what they would do or not do,

          13      right?

          14      A.    Yes.

          15      Q.    Mr. Lopez had set up a listing of four different proffer

          16      sessions in which you went into the government and you spoke to

          17      them about the people you had identified in the photographs,

          18      right?

          19      A.    Yes.

09:32AM   20      Q.    And in each of those sessions, you weren't restrained as

          21      to what you could say, you could say whatever you felt you

          22      needed to, right?

          23      A.    No.

          24      Q.    Well, you were asked questions about different people,

          25      right?
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                                                                                    14-26




           1      A.    Yes.

           2      Q.    And you had to be as truthful and as full in your answers

           3      as you could be, right?

           4      A.    Yes.

           5      Q.    And you identified, at one point in time, a particular

           6      photograph that you said was my client, Cesar Martinez,

           7      correct?

           8      A.    Yes.

           9      Q.    And then you had told the government at that time that he

09:33AM   10      was a person that operated a tow truck business, correct?

          11      A.    Yes.

          12      Q.    And that he also did mechanical work at the shop where you

          13      would have the meetings?

          14      A.    Yes.

          15      Q.    And when you had talked about Cesar Martinez, you had

          16      indicated that he was a person known to the people and

          17      yourself, he would not show up for any fights or any other gang

          18      activities, correct?

          19      A.    I don't recall having said that.

09:34AM   20                   MR. NORKUNAS:   If I could have the Elmo just for the

          21      witness.

          22      Q.    Sir, I'm calling your attention to the proffer session of

          23      August 16, 2016, and I have the interpreter read to you what

          24      would be listed as I think line 21 or item 21.

          25                   Having read that, sir, do you recall having told the
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           1      government that Cesar Martinez was known for not showing up for

           2      any fights or other gang activity?

           3      A.    Yes.

           4      Q.    Was there a time when -- on the weekends, when you were

           5      visiting the bars and the restaurants when you encountered

           6      Mr. Martinez and his daughter?

           7      A.    I don't remember.

           8      Q.    Did you see him on weekends with his daughter?

           9      A.    I remember one time, yes.      Okay.   It was during the day he

09:36AM   10      was having a meal.

          11      Q.    And his daughter was with him?

          12      A.    Yes.

          13      Q.    Now, you had indicated that Brujo was an individual that

          14      had talked to you about some incidents or some attacks on

          15      potential rivals and he also had a discussion or was made a --

          16      was telling about Vida Loca and the shooting that Vida Loca was

          17      involved in, correct?

          18      A.    Yes.

          19      Q.    And when Brujo had told you about that, he had indicated

09:37AM   20      that he, Brujo, had gone into the building where Vida Loca did

          21      the shooting, correct?

          22      A.    During the shooting when he murdered, did the murder,

          23      Brujo was with him, behind him.

          24      Q.    And he also told you that -- in relating that tale, that

          25      Crazy and Chentino had been outside waiting in their car,
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 28 of 113
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           1      right?

           2      A.    No, Chentino was not in the car.       It was Crazy and Danger.

           3      Q.    And that's the tale that he had related to you about that

           4      episode, correct?

           5      A.    Yes.

           6      Q.    Now, you indicated that you were familiar with Mr. Muerto

           7      and you and he would hang out together somewhat; is that

           8      correct?

           9      A.    Yes.

09:38AM   10      Q.    And do you know what type of car Mr. Muerto drove?

          11      A.    I saw a Nissan.

          12      Q.    Okay.    And would you ever ride with him in that car?

          13      A.    He gave me a ride one time.

          14                   MR. NORKUNAS:   I have nothing further, Judge,

          15      thank you.

          16                   THE COURT:   All right.   Redirect.

          17                   MS. LAWRENCE:   Certainly.

          18                                REDIRECT EXAMINATION

          19      BY MS. LAWRENCE:

09:39AM   20      Q.    Mr. Sanchez, when Casper took your gun away from you, did

          21      the clique pay you for that gun?

          22      A.    Yes.    That was on a Sunday, and when I saw him at work, he

          23      told me that the clique was going to buy that gun.

          24      Q.    And I'm going to talk to you a little bit about the

          25      questions you were just asked regarding Vida Loca's murder.
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                                                                                    14-29




           1      You testified earlier that Chentino got a beating for not

           2      assisting Vida Loca during that event, right?

           3                    MR. LOPEZ:   Objection, your Honor.

           4                    THE COURT:   Overruled.

           5      A.     Yes.

           6      Q.     And I believe you testified that he -- that Chentino had

           7      been at the after hours beer hall the night that Vida Loca got

           8      in a fight and the next night when he returned to shoot

           9      Javier Ortiz?

09:40AM   10      A.     I had told you that on the night of the fight with the 18

          11      he hadn't done anything to help, that Vida Loca had told him it

          12      was an 18 and he, however, did not help.

          13      Q.     Was Chentino also there when Vida Loca shot and killed a

          14      man?

          15      A.     That's what Brujo and Crazy told the clique that he had

          16      been there and not helped also.

          17      Q.     And Brujo told the clique that.      Did Brujo tell the clique

          18      that he had been there that night when Vida Loca shot and

          19      killed a man?

09:41AM   20      A.     Yes.

          21      Q.     Mr. Sanchez, did Checha go to clique meetings?

          22      A.     Yes.

          23      Q.     Did he talk about MS-13 activities at clique meetings?

          24      A.     Yes.

          25      Q.     Did he -- was he also asked to and did he beat people,
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 30 of 113
                                                                                    14-30




           1      beat other MS-13 members at clique meetings?

           2      A.      Yes.

           3      Q.      You testified and were asked some questions about meeting

           4      Animal in October of 2015.      Can you tell us again who

           5      introduced you to Animal?

           6      A.      I met him through Brujo.

           7      Q.      Okay.    You also testified earlier and were asked some

           8      questions about what you did on the weekends as an MS-13

           9      member.

09:43AM   10      A.      Yes.

          11      Q.      What did you do on the weekends as an MS-13 member?

          12      A.      What every gang member does, go out to look for rivals, to

          13      gain respect with the clique.

          14      Q.      Okay.    Who did you go out with?

          15      A.      When I was first jumped in the people that called me the

          16      most were Casper and Playa.       I used to go out with them a lot.

          17      Q.      And later, later after you joined, who did you go out

          18      with?

          19      A.      I would hang out with all of them.

09:44AM   20      Q.      And where did you go?

          21      A.      There were specific points.    There were bars where

          22      chavalas would go often and so we would head out there.

          23      Q.      Okay.    You said you went out to look for chavalas to earn

          24      respect.       And earlier you also said that you were one of the

          25      more respected members of your clique?
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                                                                                     14-31




           1      A.    In certain ways with some.

           2      Q.    Okay.    Well, how did you earn respect from those that did

           3      respect you?

           4                MR. MURPHY:     Objection, your Honor.

           5                THE COURT:    I'll allow it as to his understanding.

           6      Obviously he can't testify about what others were thinking.

           7      A.    Because they would see that I was one of the most -- one

           8      of the ones that would fight the most.

           9      Q.    And you also testified that you believe and your opinion

09:45AM   10      is that Muerto was one of the most solid members of the clique?

          11      A.    The entire clique thought that.

          12      Q.    Why did you think he was?

          13      A.    That's what I heard and also he told me that he had done

          14      several hits in El Salvador.

          15      Q.    Okay.    Why was it important for you to have this respect

          16      among your fellow clique members to look tough or to be solid?

          17                MR. MURPHY:     Objection, your Honor.

          18                THE COURT:    I'll sustain as to the leading.

          19      Q.    Earlier you testified that you tried to make yourself look

09:46AM   20      tough.   Why did you do that?

          21      A.    Because like I said before, in order to be in a gang, you

          22      can't show any weakness.      You either are or you are you not.

          23                MS. LAWRENCE:     One moment, your Honor.      Nothing

          24      further, your Honor.

          25                THE COURT:    Any recross?
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                                                                                     14-32




           1                   MR. LOPEZ:     Yes, your Honor.

           2                                   RECROSS-EXAMINATION

           3      BY MR. LOPEZ:

           4      Q.    Mr. Sanchez, after Vida Loca committed the murder that

           5      we've been talking about, Chentino went into hiding, right?

           6      A.    Yes.

           7      Q.    And he went into hiding because he knew that he didn't

           8      defend Vida Loca against rival gang members the night before

           9      the murder, right?

09:47AM   10      A.    Only he knows that.

          11      Q.    Well, when he was corrected, he was corrected because he

          12      didn't defend Vida Loca the day before the murder, correct?

          13      A.    Yes.

          14                   MR. LOPEZ:     Thank you.

          15                   THE COURT:     Anything else?

          16                   MR. IOVIENO:    No, your Honor.

          17                   THE COURT:     All right.   Thank you.   You may step down.

          18                   MS. LAWRENCE:     The government calls Brian Estevez,

          19      please.   Recalls, I should say.

09:48AM   20                   THE COURT:     We'll administer the oath again even

          21      though it's a recall.

          22                   BRIAN ESTEVEZ, having been duly sworn by the Clerk,

          23      testified as follows:

          24

          25
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                                                                                     14-33




           1                                   DIRECT EXAMINATION

           2      BY MS. LAWRENCE:

           3      Q.    Good morning, Trooper Estevez.

           4      A.    Good morning, ma'am.

           5      Q.    When you testified before you, you talked about your

           6      investigation of MS-13 from approximately August, 2013 through

           7      the beginning of early 2015?

           8      A.    Yes.

           9      Q.    Today, I want to turn your attention to the later stage of

09:49AM   10      the investigation.       In early January, 2016, did you receive

          11      information that the Eastside clique was planning to make a new

          12      member?

          13      A.    Yes.

          14      Q.    And how did you receive that information?

          15      A.    Through CW-1.

          16      Q.    And did you have other sources to verify his information?

          17      A.    Yes, recordings.

          18                   MS. LAWRENCE:    Okay.   Could we have Exhibit 116?   It's

          19      been admitted, please.        If you'd like to open your transcript

09:50AM   20      binders, it's tab 116.

          21                   MR. POHL:   May I approach?

          22      Q.    Trooper Estevez, before you testified here today, did you

          23      review transcripts and recordings?

          24      A.    Yes.

          25      Q.    And this is a transcript of a recording made on January 2,
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 34 of 113
                                                                                     14-34




           1      2016.    Did you review this transcript?

           2      A.      I did.

           3      Q.      Okay.    And do you recall, just in general terms, what the

           4      gist of this conversation is about in this transcript?

           5      A.      It's about an incident that took place in January and a

           6      conversation about Animal.

           7      Q.      And who is Animal?

           8      A.      An MS-13 member.

           9      Q.      Down at the bottom of the page, toward the bottom, Tigre

09:51AM   10      says, "And we are running with the Hollywoods, homeboy.           We

          11      talked about that at the meeting, you remember right?"

          12                     What are the Hollywoods?

          13      A.      The Hollywoods are a -- they're a clique and there's also

          14      a Hollywood program.

          15      Q.      And do you know other programs, MS-13 programs?

          16      A.      Yes.

          17      Q.      Can you give us an example of one?

          18      A.      There's --

          19                     MR. MURPHY:    Objection, your Honor.

09:52AM   20                     THE COURT:    I'll allow it.

          21      A.      There's the East Coast Program, the L.A. program, the -- I

          22      mean, there's a lot of them.

          23      Q.      Did you obtain information during the course of your

          24      investigation regarding whether the Eastside clique belonged to

          25      a particular program?
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                                                                                     14-35




           1                   MR. MURPHY:    Objection, your Honor.

           2                   THE COURT:    Sustained.

           3      Q.    All right.    After this incident on January 2nd, or

           4      actually what do you know about what happened -- sorry.           In the

           5      transcript we just reviewed, you said that they were talking

           6      about an incident that occurred on January 1st or 2nd?

           7      A.    Yes.

           8      Q.    What do you know about that incident?

           9      A.    It was a stabbing that took place in -- I believe it was

09:52AM   10      in Chelsea, and Animal and Tigre were involved and some other

          11      individuals.

          12      Q.    Did you learn about any other stabbings that Animal was

          13      involved with during this time frame?

          14                   MR. MURPHY:    Objection, your Honor.

          15                   THE COURT:    Sustained.

          16      Q.    Trooper Estevez, did you receive information in early

          17      January, 2016 that the Eastside clique was having a meeting, an

          18      upcoming meeting?

          19      A.    Yes.

09:53AM   20      Q.    What did you do after receiving that information?

          21      A.    We do what we always do is try to surveil the meeting as

          22      best as we can, make sure CW-1 had audio and video recording on

          23      his person to record the meeting.

          24      Q.    Where did you set up surveillance for this meeting in

          25      early January?
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                                                                                    14-36




           1      A.    We usually just set up right outside the area of where the

           2      meetings took place, which usually was at a garage in Everett.

           3      Q.    And do you recall the date of the meeting when you set up

           4      the surveillance outside the garage in Everett?

           5      A.    I believe it was January 8th.

           6      Q.    And was CW-1 able to record that meeting?

           7      A.    Yes.

           8      Q.    Have you reviewed a recording and transcript of that

           9      meeting prior to your testimony here today?

09:54AM   10      A.    I have.

          11                   MS. LAWRENCE:     Could I have admitted Exhibit 32.1,

          12      please.   32.3, please.

          13      Q.    Trooper Estevez, I'm going to play some clips from this

          14      January 8, 2016 ESLS clique meeting, and I'd like to ask you if

          15      you recognize the individuals in the video?

          16                   (Video played)

          17      Q.    Do you recognize that person in the video?

          18      A.    I do.

          19      Q.    Who is it?

09:54AM   20      A.    Lobo, Erick Argueta.

          21      Q.    Thank you.     Who is that individual, if you know?

          22      A.    Playa.

          23      Q.    Playa, okay.

          24                   THE COURT:     I'm sorry, the individual on the right?

          25                   THE WITNESS:    Correct, sir, with the black
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 37 of 113
                                                                                      14-37




           1      dark-colored hat.

           2                   (Video played.)

           3      Q.    Who is the person in the knit winter cap?

           4      A.    Brujo.

           5      Q.    Brujo, okay.

           6                   (Video played.)

           7      Q.    Who is the person in the yellow sweatshirt?

           8      A.    Checha.

           9                   (Video played.)

09:56AM   10      Q.    Who is the individual who was on the frame to the right

          11      for most of that clip?

          12      A.    Casper.

          13                   MS. LAWRENCE:     I would like to read portions of the

          14      recording -- I'm sorry, the transcript that is at tab 31 in

          15      your transcript binder.        Can we have admitted Exhibit 31,

          16      please?

          17                   Your Honor, may I approach the witness?

          18                   THE COURT:    Yes.

          19                   MS. LAWRENCE:     This is in the binder just make it

09:57AM   20      easier to read.

          21      Q.    Okay.    Trooper Estevez, can you begin reading the

          22      highlighted portions of the transcript that I just handed you,

          23      please.

          24      A.    Yes.     Casper:    "Hey, so, look, how are things then?    Are

          25      we going to jump this homie today, or what?"
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                                                                                    14-38




           1                  Continue at the bottom of the page?

           2      Q.      Yes, please.

           3      A.      Casper:   "You know how it is with you, man.      They are on

           4      the street looking for you with everything, doggie.          Do you

           5      agree?"

           6      Q.      Animal:   "Yes."

           7      A.      Casper:   "And the plan that we have for this homeboy once

           8      he's in so that the police does not get him, we have to take

           9      care of this dude, homies.        How are we going to do it?"

09:58AM   10      Q.      Muerto:   "Well, that's why."

          11      A.      Casper:   "Do you have a place to stay right now?"

          12      Q.      Muerto:   "That's the same thing, we're moving him."

          13      A.      Casper:   "Where to stay and everything?"

          14      Q.      Muerto:   "That's why we're moving him however we can,

          15      dude.    Also several dudes don't want to give him a place to

          16      stay dude, so then."

          17                  CW-1:   "No."

          18                  Muerto:      "Son of a bitch with this dude."

          19      A.      Casper:   "No.     So you guys can't say you don't want to,

09:58AM   20      homeboy.    If we're not sure about what's really going on in

          21      each guys's house."

          22      Q.      Muerto:   "That's what I'm saying, many of the dudes don't

          23      want him staying there anymore.        So what we're doing is moving

          24      the guy."

          25                  CW-1:   "I've even paid for hotels for the dude and the
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           1      man can tell you out of my own pocket."

           2                Muerto:    "Yeah."

           3      A.    Casper:    "Fuck that's awesome, dog."

           4                Lobo:    "There is -- there is room right now for 500

           5      fucking bucks.    I don't know if you guys are in agreement."

           6      Q.    Caballo:    "Where?"

           7      A.    Lobo:    "Because I know that girl, I prefer not telling her

           8      that this homie is with the Mara, you know."

           9                Casper:    "Yes, but 500 bucks is expensive, son of a

09:59AM   10      bitch."

          11      Q.    Caballo:    "No, man.    500 bucks is cheap, dude."

          12                CW-1:    "And where is it, dude?"

          13      A.    Lobo:    "Here in Chelsea next to the clock."

          14      Q.    Caballo:    "And in Chelsea?"

          15      A.    Casper:    "No, man.    This dude has to go far from there,

          16      dude."

          17                Casper:    "The thing right now, dudes, the move is that

          18      this homeboy should not be in Mara turf.        We're in Lynn,

          19      Chelsea, East Boston."

09:59AM   20      Q.    Unidentified male:      "And Lynn would be possible."

          21      A.    Casper:    "In Somerville, Everett."

          22      Q.    CW-1:    "Somerville is too hot."

          23      A.    Casper:    "Those are the territories that this dude can't

          24      be in, dude.     So then we're going to -- we are going to send

          25      this dude to the clique, homeboy.       We have to hide him so that
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           1      he won't be arrested, dude.      Right now it is our priority that

           2      this dude not be locked up, dude."

           3                  Casper:    "That's the bad thing.    Look, that's what I'm

           4      referring to.      Talking when one kills.    Look, that's what I'm

           5      referring to."

           6      Q.      Vago:   "One can say."

           7      A.      Casper:    "Right now, right now.    Let's see what we're

           8      going to do, dudes.      They're going to get those two guys and

           9      they're going to try to put blame on them.         They know that he's

10:00AM   10      not the one.      They know that they aren't the ones who did it.

          11      They know that you did it, homie.       What they're doing right now

          12      is trying to see if these dudes will turn into snitches,

          13      homie."

          14      Q.      Animal:    "Yes, but I don't know what the deal is because

          15      to me at first they were coming down on me, right, but it was

          16      just for some other shit that we had done with Crazy and

          17      Chucho.    Yeah, but it's the culeros that are also after me

          18      about that thing, because they already know what's going on."

          19      CW-1:    "But the police doesn't know.      The police doesn't know

10:01AM   20      because they would have already put it on the news."

          21                  Animal:    "There were two guys that went into a

          22      laundromat.       There were two of them and when they saw me they

          23      ran out, but one of them went into the laundromat, right?           Yes

          24      and since another guy was looking at me, I ran away."

          25      A.      Casper:    "But if those fuckers know that you went to the
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           1      police, those dudes."

           2      Q.      CW-1:   "No way, man.    The police would have already put

           3      his photo in the newspaper."

           4      A.      Casper:   "Oh, well.    Then the asshole has not been

           5      able --"

           6      Q.      CW-1:   "No."

           7      A.      Casper:   "-- to identify him in the photo that the police

           8      have."

           9      Q.      CW-1:   "No, no, no.    Listen, dudes, yeah because they

10:02AM   10      would have already turned him over to the police.          Hey, just

          11      like with Vida Loca.     By the third day, wasn't he already in

          12      the?"

          13      A.      Casper:   "That's right."

          14      Q.      "In the newspaper and all that shit, in the newspaper and

          15      everything, man."

          16      A.      Casper:   "The culeros will snitch on you.     Right now they

          17      are really high, dude.      The deal is that about the thing with

          18      the two homies."

          19      Q.      CW-1:   "It's not about disappearing, but rather not to go

10:02AM   20      out into the streets too much."

          21                  Vago:   "The dude that escaped called me, you know, and

          22      he was asking me if the son of a bitch that they caught, you

          23      know.    That they were asking about -- asking him about the

          24      incident that happened in East Boston, you know, but supposedly

          25      the Everetts had given it to him, you know, the dude."
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           1      A.      Casper:    "Well, dude let them say that."

           2      Q.      (Unintelligible).

           3      A.      Casper:    "That is better for us and that is good for you,

           4      too, dude."

           5      Q.      Vago:    "And the dude was telling me, you know, to warn the

           6      homies you know to take care of themselves because that's the

           7      trail they are pursuing, you know?"

           8      A.      Casper:    "No, man that's great."

           9      Q.      Muerto:    "Yeah.   The other guy that took off is still

10:03AM   10      around there, dude."

          11      A.      Casper:    "As long as the police say that the Everetts did

          12      it, dude, that's even better, dude."

          13                  Playa:     "If he could hide him for at least a month in

          14      that house that would be awesome."

          15      Q.      CW-1:    "Well, right now he's already over there in that

          16      house, you know?"

          17      A.      Playa:     "We have to look for a room."

          18      Q.      CW-1:    "We have to look for another room for next month,

          19      man."

10:03AM   20      A.      Playa:     "We can get a room between all of us, dude."

          21      Casper:    "That's what fucked up about it, homie."

          22      Q.      Caballo:    "The thing is we all have to be on the lookout.

          23      We don't have anything.       You can go look around, because you

          24      are driving a taxi and I will be looking around, too."

          25                  CW-1:     "No, man.   I've already looked around here, but
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           1      I found one, but they wanted a deposit."

           2      A.    Lobo:    "Let's go tomorrow if you want and we'll do it

           3      tomorrow.     I don't work tomorrow."

           4                  Playa:   "Well, that's the thing.     We have to look into

           5      it to get the money together, homie, Brujo."

           6                  Brujo:   "I can give you the money depending on

           7      what -- no, on Tuesday.      I'll give you what I'm supposed to

           8      give, dude, plus what I owe for the (unintelligible)."

           9      Q.    Unintelligible -- sorry.      Unidentified man:     "How much

10:04AM   10      would each have to give or even if we don't watch after him,

          11      just as long as we get the money, homie.        Playa, how much more

          12      or less would we have to give to more or less get a room for

          13      this dude?"

          14      A.    Casper:    "It's that it's not just us, it's everybody

          15      because."

          16      Q.    Muerto:    "That's right, all of us."

          17      A.    Playa:     "I think that the entire clique (unintelligible).

          18      Casper:   "Playa."

          19      Q.    "The entire clique."

10:04AM   20      A.    Casper:    "The problem, the problem is this, look."

          21      Q.    Caballo:    "Whoever does not want to give, no problem."

          22      A.    Casper:    "I'm going to give you something to get a room

          23      for this homeboy for 500 bucks.       I'm calculating that we all

          24      have to meet twice a week, man.       The thing is like this, dude.

          25      The homie has to learn how to look after himself, he has to
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           1      find a job."

           2      Q.     CW-1:    "Exactly."

           3                  Animal:    "Well, yeah."

           4      A.     Brujo:     "Well, we have to help him find a job."

           5      Q.     Caballo:    "Look, dude."

           6                  Animal:    "That's right, that's what I'm doing right

           7      now.     I'm trying to find work."

           8                  Caballo:    "There's a place by where you can get a job

           9      as a dishwasher if you want to stay and make 12 bucks an hour,

          10      dude."

          11                  Animal:    "12 bucks is good."

          12      A.     Lobo:    "How are you with garbage, bro?"

          13      Q.     Animal:    "Huh?"

          14      A.     Lobo:    "How good are you with garbage?"

          15      Q.     Animal:    "(Unintelligible)."

          16      A.     Playa:     "Look I am quite relaxed here, dude.     That dude

          17      has killed, dude, and look that homie is taking it easy.          A lot

          18      of people found out about the murder that guy did, dude, and I

          19      ran into the guy walking around with his glasses here and he's

10:05AM   20      all calm, dude, and he is working, man."

          21      Q.     Animal:    "Yeah."

          22      A.     Playa:     "Many of you since I started talking know whom I'm

          23      talking about so you can do the same thing, too."

          24      Q.     Caballo:    "The good thing is that look, homie, I work with

          25      civilians.      We all work with civilians, dude, and right there
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           1      where the civilians are, if a son of a bitch fucks up, I will

           2      break his trap and I've already done so.        I was fired from good

           3      jobs, homie.     What I'm trying to tell you is that you can't be

           4      telling civilians that you go here or there, dude.          You know?

           5      You know what you are, homie, and we all know what you are."

           6      A.    Playa:     "Without any problems, always, without any

           7      problems."

           8      Q.    Caballo:    "But because of that same shit, dude, we have to

           9      be saying that we aren't because we know what we are here,

10:06AM   10      right?   Whatever problem we have, if you have problems and you

          11      belong to the Side, then we are all going to have the same

          12      problems that you have."

          13                  Animal:    "Yeah."

          14                  Caballo:    "But let that be clear, homie, understand?"

          15      A.    Casper:    "You always deny it to police.      Tell them that

          16      you don't know."

          17      Q.    Caballo:    "Bullshit the fucking police.      You are nothing."

          18                  Animal:    "(Unintelligible)."

          19      A.    Playa:     "And it's even better if they don't ask you.      If

10:07AM   20      they don't ask you, that's even better."

          21                  Casper.    "Hey, homie.   Do what they do when they do on

          22      the news.    Keep running away from the violence in El Salvador."

          23      Q.    Animal:    "(Unintelligible)."

          24      A.    Casper:    "And how are going to get to Boston?       You have to

          25      play low with those motherfuckers, man."
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           1      Q.    Animal:   "Yeah, man."

           2                  MS. LAWRENCE:    Let's go to page 9.

           3      A.    Casper:   "When you have to talk with the homeboys from the

           4      Mara."

           5                  Playa:     "I did it alone for me."

           6                  Casper:    I did it, because I don't like those

           7      culeros."

           8      Q.    All right.      We're on page 9, middle of the page.

           9                  Animal:    "Yeah."

10:07AM   10      A.    Playa:    "I didn't do it for Everett.      You are no longer

          11      being saying that you did it for (unintelligible), dude.

          12      Q.    Duke:    "Hey, Animal, do you want to settle down here to be

          13      a homie for the Eastsiders?"

          14                  Animal:    "Yes, yes, that's why I came to this clique.

          15      Doggie.   I want to be here."

          16      A.    Playa:    You feel the Eastsiders?     The Eastsides clique?"

          17      Q.    Animal:   "Yes, yes, that's why I came over here."

          18                  Caballo:    Great, because he is looking for some

          19      homies, man."

10:08AM   20                  Caballo:    "Decide if you want to jump in the doggie,

          21      or if you only want him to hang out with us, dude."

          22                  Duke:    "Hey, is it your decision or what?"

          23                  Chentino:    "Caballo."

          24      A.    Casper:   "The dude already has an in, dude, I am preparing

          25      that."
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           1                  Brujo:     "Huh?    The homeboy did that thing with me."

           2      Q.    CW-1:    "Hold on."

           3      A.    Brujo:     "Twice in a short time he did it with me and that

           4      is some serious shit, man."

           5      Q.    Caballo:      "That's what I'm telling you, look."

           6                  CW-1:    "He did another one with Tigre, doggie."

           7                  Duke:    "Well, then let him in."

           8                  CW-1:    "No, but hold on, dog."

           9                  Caballo:    "You can go say that (unintelligible) looks

10:08AM   10      awesome and everything.         Yes to the Mara, right?   But the thing

          11      is we have to see how we work, dog."

          12                  Animal:    "Yes."

          13                  Caballo:    "Because if we don't work, we're going to

          14      get screwed, understand?"

          15                  Animal:    "Yeah, I know what it is."

          16                  Caballo:    "Because we have to work, dog."

          17                  Page 11, please.

          18      A.    Lobo:    "What then, Casper?"

          19                  Casper:    "No, well the dude is firm there, is firm

10:09AM   20      there, homie."

          21                  Playa:     "Well, then do it."

          22                  Casper:    What I am doing right now, what we are doing

          23      is right.     It's not good, you know, to get jumped in alone.         He

          24      knows he's going through the same situation as us and at the

          25      same time we have to see how we're going help him out, dude,
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           1      because we have to take care of that homie."

           2                 Lobo:    "All of us are" -- excuse me -- "all of us are

           3      also aware of what's going on."

           4      Q.    CW-1:    "What you're saying is fine, Lobo.      We have to find

           5      a room."

           6                 Muerto:    "That, too."

           7      A.    Playa:     "We have to be careful, homie, because it is

           8      important because of the 40 bucks that we got together the

           9      other day, we were here, was sent to El Salvador."

10:10AM   10      Q.    Unidentified male:      "Uh-huh?"

          11      A.    Casper:    "Yeah, but it's going to be very difficult for us

          12      to give 500 bucks for this dude's rent."

          13      Q.    CW-1:    "No, no, no.   Not $500.    That's just to get

          14      started, understand?     Just while he -- because we also have to

          15      think about the move."

          16                 Caballo:    "All right, work, dog."

          17                 Unidentified male:     "That's right."

          18      A.    Lobo:    "Look, if Caballo doesn't take you there to where

          19      he's working, I'm going to try to get you into where I work,

10:10AM   20      where I took Duke."

          21      Q.    Caballo:     "All right, go for it."

          22      A.    Lobo:    "That's true, this dude."

          23      Q.    Duke:    "Where you took me, where he took me."

          24      A.    Playa:     "Well, he did take Duke, homie."

          25      Q.    Caballo:     "I'm going to try.     I mean, I'm going to try."
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           1                CW-1:    Right, try.   Well, trying is one thing."

           2                Unidentified male:     "I'm not -- not --"

           3                Caballo:    "You'll see the money there, too, homie."

           4      A.    Lobo:    "I'm not saying I'm going to get you in.       I'm

           5      telling you that I'm going to try."

           6                MS. LAWRENCE:     Page 13.

           7      A.    Brujo:    "So are we going to get a guy just because he

           8      wants to be with us at a bar?"

           9                Brujo:     "Hey, let's get a dude now because hey we are

10:11AM   10      going to get to another bar."

          11      Q.    Casper:   "No, several."

          12      A.    Brujo:    "If a son of a bitch is looking for me

          13      (unintelligible)."

          14      Q.    Casper:   "Several stages.     He has to go through

          15      several --"

          16                Unidentified male:     "No, man."

          17      A.    Casper:   "Several phases so that we can (unintelligible)."

          18                Brujo:     (Unintelligible), that's what I'm saying."

          19                Playa:     "It's like this, dude.    Look, how can this

10:12AM   20      dude snitch on someone else if he's got that problem on him,

          21      whereas another guy who was just drunk and doing things like

          22      that."

          23      Q.    Duke:    "That's right."

          24      A.    Brujo:    "They are here all the fucking time only because

          25      they are here all the fucking time.        They are here all the
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           1      fucking time just because they are at the bars treating."

           2      Q.    Caballo:    "Uh-huh."

           3      A.    Brujo:     "Let's go to the side now."

           4                Playa:     "Yeah."

           5                Brujo:     "No, man, let them come and kill.      Let them

           6      come and feel the pressure."

           7                Playa:     "For them two (unintelligible) with the

           8      chavalas, dude."

           9                Brujo:     "They need to stick the knife in."

10:12AM   10      Q.    CW-1:    "Yeah, man."

          11      A.    Brujo:     "To stick the knife in and see what happens."

          12      Q.    Duke:    "That's right."

          13      A.    Casper:    "Let me tell you something."

          14      Q.    CW-1:    "There you can see who has balls."

          15      A.    Casper:    "About the clique, the Eastside clique, homie."

          16                Brujo:     "If you have love for the barrio, you will

          17      show your balls there."

          18                Casper:     "No, look, I'm going to tell you something,

          19      homie.   We need the new generation of the Eastside, homie, and

10:13AM   20      thanks to the wisdom that we have gained over the years, homie,

          21      we have to pass it along, dude.       So that the new Eastside

          22      clique can come and not, not think badly that we're going to

          23      fuck them over, because shit we are Maras and the fuckers here

          24      will fuck it up.     We're always (unintelligible)."

          25      Q.    Duke:    "The clique has to continue grow."
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           1      A.    Casper:   "But what I am trying to say is that you guys are

           2      going to be the next generation.       Fuck, here, the majority of

           3      us here, in five years we will be over 40, in another 5, we'll

           4      be 45 until (unintelligible)."

           5      Q.    Duke:    "Hey, it needs to keep growing, homie."

           6      A.    Playa:    "Let's be clear on that."

           7      Q.    Duke:    "I'm almost 40, homie.     Let the clique continue to

           8      grow, homie."

           9      A.    Playa:    "Casper."

10:14AM   10                Casper:    "Seriously everything will end up in the

          11      hands of the new generation."

          12      Q.    Duke:    "That's true, homie."

          13      A.    Playa:    "Casper, Casper."

          14                Casper:    "Who will make it easier?"

          15                Playa:    "That's why I'm telling you the deal with that

          16      homeboys, they don't drop the line, you understand?"

          17                Brujo:    "(Unintelligible), throw signs for our gang

          18      look because our, (unintelligible)."

          19      Q.    Duke:    "No, no, no, man."

10:14AM   20      A.    Brujo:    "The one thing that is with me, what did he say to

          21      me?   God willing, God willing, homie, they want to arrest me or

          22      kill me for being with you out on the streets.         I'll fucking go

          23      out on the streets with you and we did it.         We did it the right

          24      way, (unintelligible)."

          25      Q.    Duke:    "And it's going to be done, dude."
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           1      A.    Brujo:    "And there it is."

           2      Q.    Duke:    "One way or the other, whatever, it's going to

           3      done, understand?"

           4                Unidentified male:     "That's right."

           5      A.    Casper:   "Yeah, just remember that always, homie, what

           6      we're teaching you right now, homie, and something else, homie,

           7      is that a lot of people in this clique or in other cliques are

           8      going to run to you with gossip that these guys here and these

           9      guys there."

10:15AM   10      Q.    Animal:   "Uh-huh."

          11      A.    Casper:   "They can tell you, hey, Muerto that Muerto is

          12      doing this and doing that to me.       Never believe the gossip from

          13      another person."

          14      Q.    CW-1.    "Uh-huh."

          15                Caballo:    "Come and ask this homie in person."

          16      A.    Casper:   "There will always be, you'll have to listen to,

          17      to several opinions so that you can make a decision about a

          18      person.   Never, never make a decision.       Never think that

          19      Chentino or me or Playa or Muerto or whomever, homie, that we

10:16AM   20      are fucking up if only one person speaks.         There always has to

          21      be four people who speak, homie, when more than four people

          22      make decisions regarding a person."

          23      Q.    Duke:    "Have proof."

          24      A.    Casper:   "There's something wrong there with that person,

          25      understand?"
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           1      Q.    Muerto:    "Uh-huh."

           2      A.    Casper:    "Never, never, never, let yourself be tricked,

           3      homie."

           4      Q.    Muerto:    "Don't justify."

           5      A.    Casper:    "Because in this we're always some shit.         We

           6      are -- we're like a nest full of was wasps, dude, and you're

           7      never going to be okay with all the wasps, homie.          There will

           8      always be one that's jealous or who will think."

           9      Q.    Caballo:    "Or will want to sting you."

10:16AM   10      A.    CW-1:    "Uh-huh."

          11      A.    Casper:    "Or they'll think or they'll try to fuck you

          12      over."

          13      Q.    Turning to page 17 now.       The middle of the page.

          14      A.    Casper:    "You have to get ready to hit those guys in the

          15      face who say, oh, the Everetts did the killing.          No, I did the

          16      killing."

          17      Q.    Duke:    "Look, you did.   It, you didn't do it for any

          18      clique, you did it for the letters."

          19                  Animal:   "Yes."

10:17AM   20      A.    Playa:     "You will have to forgive me homie, but supposedly

          21      the Everetts are trying to take credit for that murder, homie.

          22      You know, that's the thing."

          23                  Casper:   "No, but look, Playa, and then they went to

          24      loot the -- (unintelligible)."

          25                  Casper:   "Let it be heard on the streets."
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           1                Playa:     "(Unintelligible)."

           2                Casper:     "Let it be heard on the streets and with the

           3      police that the Everetts did it, homie.        It's to our

           4      advantage."

           5      Q.    Animal:    "Right."

           6                Unidentified male:     "Yeah."

           7      A.    Casper:    "It's good for you and it's good for us.         What is

           8      good for us here is that when as a homeboy up for the Eastside,

           9      which you will be, you say, hey, there goes Animal, a homeboy

10:18AM   10      from the Eastside, dude."

          11      Q.    Caballo:    "And puff your chest out, dude."

          12                Animal:     "Yes."

          13      A.    Casper:    "And I'm the one that did it."      -- excuse me --

          14      "and I'm the one that did that hit, yeah.         With the Mara, guys,

          15      and if some civilian comes to ask you, hey, homie who did it,

          16      you say it was the Everetts.       It was the Everetts and put the

          17      blame on them.     That's good for you, dog."

          18      Q.    Duke:    "Hey, but at that time when you did that hit or

          19      whatever you weren't in in the Everett clique."

10:18AM   20                CW-1:     "You were on observation."

          21      A.    Brujo:     "He was not with the Mara yet."

          22      Q.    Duke:    "Right, so then what he did."

          23      A.    Playa:     "And why did he do this hit as a paro?      They told

          24      him that he was in the Mara?"

          25      Q.    Duke:    "No, well, that's right because what he did then
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           1      was not a killing from Everett, instead he did it, you know."

           2                  Animal:    "Yeah, I was a paro there."

           3                  Duke:    "For himself.    He did it there representing the

           4      letters."

           5                  MS. LAWRENCE:    Let's go to page 19, please.

           6      A.    Lobo:   "Focus on the room.      I'm also going to look for a

           7      room."

           8                  Casper:    "People are going to ask you

           9      (unintelligible)."

10:19AM   10                  Lobo:    "If anything comes up, I'll call you tomorrow."

          11      Q.    CW-1:   "Let's look at that one, that one over there."

          12      A.    Lobo:   "We can go in one car early tomorrow and one of us

          13      can get out and the other one gets in and we can just drive

          14      like that to see what the deal is in Somerville and Chelsea."

          15      Q.    CW-1:   "Yeah, and if not.      And that one, that one over

          16      there is in good area because as long as this guy is hiding out

          17      and we just go to pick him up."

          18      A.    Lobo:   "Dude, there is only a girl there and the old lady.

          19      That's all.    It's behind City Hall."

10:20AM   20      Q.    Caballo:      "Why were you doing hits with the Everetts, why

          21      are you now with the Eastsides, it's a bunch of things there."

          22      A.    Lobo:   "Is it 122?"

          23      Q.    CW-1:   "On Ford Street?       No, it's on --"

          24      A.    Lobo:   "You have to talk to those people, dude."

          25                  Lobo:    "No, it's on that street by the cemetery
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           1      down --"

           2      Q.    Muerto:   "And don't -- don't lower your head, walk with

           3      your head held high and don't give a shit about what

           4      (unintelligible)."

           5                 CW-1:   "Is it on Marlborough Street?       No?"

           6      A.    Lobo:    "No, it's further down from Marlborough.       The one

           7      that goes through by here and then from the school it goes up."

           8      Q.    Muerto:   "Let's go then."

           9      A.    Lobo:    "All right then."

10:20AM   10      Q.    CW-1:    "Let's go see."

          11      A.    Lobo:    "I'll give you a call.     I'm going to speak to her

          12      clearly tomorrow and I'll give you a call tomorrow around 5 or

          13      3 in the afternoon to see what's going on."

          14      Q.    CW-1:    "You got it."

          15      A.    Casper:   "Look, I spoke to Pantera.       Do you know who

          16      Pantera is?"

          17      Q.    Animal:   "Oh, yeah.     I know that homeboy."

          18      A.    Casper:   "So I already talked to that guy right and I

          19      spoke about you with that dude, homie, and supposedly he was

10:21AM   20      going to meet with the Everetts to clear that thing up, homie.

          21      From the looks of it he didn't clear it up too well because

          22      they kept calling you but now we talked about what we're going

          23      to do, you know?     The thing that's going to happen is that we

          24      will also have to pay these homies that money.         What the dude

          25      told me is that because they are going to start bugging us
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           1      about that money."

           2      Q.    CW-1:    "Yes."

           3      A.    Casper:    "Sooner or later, because we were bugging Crazy,

           4      remember?"

           5      Q.    Muerto:    "And how much money is it?"

           6                  CW-1:    "Hold on, but --"

           7      A.    Casper:    "300 bucks."

           8      Q.    CW-1:    "But there's one thing."

           9                  Caballo:     "Yeah, that's true because these homies gave

10:21AM   10      those dudes some money."

          11      A.    Casper:    "What money?"

          12      Q.    Caballo:      "That those guys gave some money to Chucho,

          13      Chucho from the Everetts, because Chucho from the Everetts was

          14      going to leave and Chucho never left and --"

          15                  CW-1:    "For that same killing, you know, that this guy

          16      here did.     Supposedly Chucho had heat on him."

          17      A.    Casper:    "But did that come from your pocket or from the

          18      clique?"

          19      Q.    Caballo:      "From the pocket of these homies."

10:22AM   20                  Animal:     "No from our pockets."

          21      A.    Casper:    "Whose pockets?    Which, dude?"

          22      Q.    Unidentified male:      "From this one."

          23      A.    Casper:    "From this one and who else?"

          24      Q.    Animal:    "I gave him 100 and --"

          25                  Unidentified male:     "The kid running around with us."
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           1      A.     Casper:   "Huh?"

           2      Q.     Unidentified male:     "The kid running around with us."

           3                 Animal:    "I did gave him 10, David gave him 100, Luis

           4      gave him 50, Sergio gave him 50 and Chamuco gave him 40."

           5      A.     Casper:   "None of them are in the Everetts clique?"

           6      Q.     Animal:   "No."

           7                 Unidentified male:      "That's what I'm saying, doggie."

           8      A.     Casper:   "Oh, well.    It's done."

           9                 Casper:    "Then that debt is paid up."

10:23AM   10                 Playa:    "We gave money and they are still charging

          11      us."

          12                 Playa:    Remember that I told you that if you were with

          13      us, I told you that whatever happened to you would happen to

          14      all of us."

          15      Q.     Animal:   "No, yes."

          16      A.     Playa:    "And I literally said this to you, didn't I,

          17      dude?"

          18                 Casper:    "Hey, Animal, I hope, homie, it's not for

          19      anything, homie, but this stuff that we're talking about right

10:23AM   20      now won't be, dude, because homie you want to fix the problem

          21      with them and I don't know if it is from the heart that."

          22      Q.     Duke:    "For sure, homie."

          23                 Animal:    "No, but it is from the heart, homeboy."

          24      A.     Casper:   "All right."

          25                 MS. LAWRENCE:      Let's turn to page 23.
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           1      A.    "Hey homie, let's jump this guy in now.

           2      (Unintelligible)."

           3                   MS. LAWRENCE:     32.2.   It's a clip of a video recording

           4      of a different part of this meeting.         Trooper Estevez, we're

           5      going to play this now.

           6                   (Video played.)

           7      Q.    Trooper Estevez, what did we just see there?

           8      A.    That's the 13-second jump in of Animal into the Eastside

           9      Locos Salvatrucha clique to become a homeboy.

10:25AM   10      Q.    And did you understand -- it's in the transcript, but did

          11      you hear in Spanish anything that was said of interest to you?

          12      A.    At the end once the beating was done, he was approached

          13      and told, "Welcome to La Mara."

          14      Q.    And did you see any actions taken by any of the

          15      individuals after the jump-in that was significant?

          16      A.    Yes, they all threw up the MS-13 hand sign, someone threw

          17      up the MS-13 hand sign.

          18      Q.    After this meeting on January 8, 2016, what happened next

          19      in the investigation?        Well, did the investigation conclude

10:26AM   20      shortly after this meeting?

          21      A.    Yes.

          22      Q.    And what happened?

          23      A.    There was a take-down of the investigation and all the

          24      people that were charged were -- well, some of them were

          25      arrested, some of them were arrested later on.
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           1      Q.      And when approximately was that that the arrests were

           2      made?

           3      A.      The initial arrest?

           4      Q.      The initial arrest and the take-down.

           5      A.      The exact date escapes me, but I believe it was

           6      January 16th; is that correct?

           7                     MS. LAWRENCE:    All right.   No further questions at

           8      this time.       Thank you.

           9                     THE COURT:    We might as well take our break now.

10:26AM   10                     THE CLERK:    All rise.

          11                     (A recess was taken.)

          12                     THE CLERK:    Thank you.   You may be seated.   Court is

          13      now back in session.

          14                     THE COURT:    Mr. Murphy, cross-examination.

          15                     MR. MURPHY:     Thank you, your Honor.

          16                                      CROSS-EXAMINATION

          17      BY MR. MURPHY:

          18      Q.      Good morning, Mr. Estevez.        My name is the Marty Murphy

          19      and I represent Herzzon Sandoval.

10:41AM   20      A.      Good morning, sir.

          21      Q.      Let me ask you, since you began working on this

          22      investigation, at the very outset, you actually picked CW-1 up

          23      at the airport?

          24      A.      Yes.

          25      Q.      And when was that, sir?
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           1      A.    I believe it was on August 2013.

           2      Q.    And as of that time, sir, how long had you been a trooper?

           3      A.    Six years.

           4      Q.    And, sir --

           5      A.    I'm sorry, as of that time?

           6      Q.    As of that time.

           7      A.    Five years.

           8      Q.    Five years.    Thank you, sir.    Now, you said on direct

           9      examination earlier in the week that CW-1 had a personal car

10:42AM   10      that he used to give folks rides, correct?

          11      A.    Yes.

          12      Q.    And that he posed as a gypsy cab driver, correct?

          13      A.    Correct.

          14      Q.    And that was in a car that was actually supplied by the

          15      FBI, correct?

          16      A.    The car wasn't supplied by the FBI.        He used his money to

          17      buy it.

          18      Q.    And did the money that he get from -- to buy that car, was

          19      that supplied by the FBI?

10:42AM   20      A.    Oh, he was paid.    Yes.

          21      Q.    He was paid by the FBI, he used the money the FBI gave him

          22      to buy the car, correct?

          23      A.    I suppose.

          24      Q.    Now, sir, CW-1 had a phone that the task force had what

          25      was known as a consensual Title III on, correct?
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           1      A.    Yes.

           2      Q.    And a consensual Title III just means that CW-1 agreed

           3      that the FBI could record all the calls that he made and all

           4      the calls that were made to him, correct?

           5      A.    Yes.

           6      Q.    And during the investigation, CW-1 had a second phone,

           7      correct?

           8      A.    Yes.     Yeah, we allowed him to have a personal phone, a

           9      second phone, so he can contact family and make personal calls

10:43AM   10      on it.

          11      Q.    Right.     And those were the rules he was supposed to

          12      follow, correct?

          13      A.    I mean, that was his phone, it was his personal phone.        We

          14      also had a pen register on that phone.

          15      Q.    And that recorded -- and what a pen register does is

          16      record the phone numbers that are called by the phone?

          17      A.    Correct, it's almost like when you get the bill at the end

          18      of the month.     It has all the calls you made with the telephone

          19      numbers that you made.

10:44AM   20                   THE COURT:   I don't think they send bills like that

          21      anymore.

          22      Q.    In the old days when they used to send bills like that?

          23      A.    Correct.

          24      Q.    And so that allowed you to know the numbers that CW-1

          25      dialed and the numbers that dialed him, correct?
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           1      A.    Yes.

           2      Q.    But it didn't allow you to record those conversations,

           3      correct?

           4      A.    Correct.    It was his personal phone.

           5      Q.    It's fair to say, though, that CW-1 decided which phone he

           6      was going to use whenever he placed a phone call, correct?

           7      A.    Yes.     I mean, he had two phones, one was for what I would

           8      call his work, which was for contacting the members, the MS-13

           9      members and having conversations and the other one was his

10:44AM   10      personal phone that he used to contact his family and whoever

          11      he wanted to contact that was on a personal matter.

          12      Q.    But it was up to him to decide which phone to use?

          13      A.    Right.

          14      Q.    And he told you that he was going to use the personal

          15      phone for only personal phone calls, correct?

          16      A.    I mean, that's what I had known it was for.         You know, I

          17      didn't have that conversation with him.        I didn't give him the

          18      phones.

          19      Q.    But you were relying on him to use the work phone for work

10:45AM   20      calls, correct?

          21      A.    That's what it was for.

          22      Q.    And to make sure that he didn't use the personal phone for

          23      work calls, too, correct?

          24      A.    Yes.

          25      Q.    And you had no control of whether he gave the personal
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           1      phone to people that he wanted to talk to that were involved in

           2      criminal activity, correct?

           3      A.      No.

           4      Q.      Now, there was a recording device that was installed in

           5      CW-1's car, correct?

           6      A.      Yes.

           7      Q.      And it was up to CW-1 to decide when to turn it on and

           8      when to turn it off, correct?

           9      A.      Yeah, he would turn it on when he had members in the car

10:46AM   10      and he was able to collect evidence and when he had time to.

          11      Sometimes the situations were fluid and they would jump in the

          12      car and -- you know, it was kind of a little bit of process to

          13      turn the recorder on, so if he had people in the car maybe it

          14      wasn't safe for him to turn it on.

          15      Q.      Fair enough, sir.   But you would agree that it was up to

          16      him to decide when to turn it on, correct?

          17      A.      Yes.

          18      Q.      The task force wasn't doing that remotely, correct?

          19      A.      Correct.

10:46AM   20      Q.      And you were relying on him to decide what conversations

          21      should be recorded and what conversations shouldn't be,

          22      correct?

          23      A.      Of course.   I mean, we weren't in the car with him at the

          24      time.

          25      Q.      And you didn't regularly conduct surveillance of him,
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           1      correct?

           2      A.    We did when we knew in advance we had something planned.

           3      There was a clique meeting or there was going to be a

           4      controlled buy of narcotics, but when he was on his own time,

           5      he was on his own time.

           6      Q.    Right.     And on a routine basis, day-to-day, you were not

           7      following him around unless there was something planned?

           8      A.    Correct.

           9      Q.    Now, one of the things that CW-1 did after he was set up

10:47AM   10      with the gypsy cab was to listen to individuals who came into

          11      the cab to talk about crimes they committed, correct?

          12      A.    Correct.

          13      Q.    And his role in that situation was simply to keep people

          14      talking, correct?

          15      A.    Yes.

          16      Q.    But CW-1, Pelon, also did things proactively, correct?

          17      A.    Yes.

          18      Q.    And he worked with the members of the task force to decide

          19      how to approach those situations where he was going to do

10:47AM   20      something proactively, correct?

          21      A.    Correct.

          22      Q.    So, for example, we've had heard evidence in this case

          23      about the so-called drug protection details, right?

          24      A.    Yes.

          25      Q.    And you participated in each of those drug protection
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           1      details, correct?

           2      A.    I did.

           3      Q.    And you worked closely with CW-1 to set those up, correct?

           4      A.    We worked all as a task force, yes.

           5      Q.    The task force worked closely with CW-1 to set those up?

           6      A.    Correct.

           7      Q.    And I think to state the obvious, the FBI really had no

           8      reason to want to take drugs from its evidence locker, from

           9      Boston to New Hampshire, right?

10:48AM   10      A.    I don't understand the question.

          11      Q.    Well, there was no reason that the FBI needed to have

          12      drugs that were safe in its evidence locker taken to

          13      New Hampshire, correct?

          14      A.    Correct.

          15      Q.    Those drugs were safe in the FBI evidence locker?

          16      A.    Correct.

          17      Q.    And where is that?     Is that in Chelsea?

          18      A.    I have no idea.

          19      Q.    Okay.    But the FBI agents that you were working with

10:48AM   20      retrieved the drugs and brought them to Chelsea, correct?

          21      A.    Yes.

          22      Q.    And they arranged for them to be transported to

          23      New Hampshire, correct?

          24      A.    Yes.

          25      Q.    And, sir, the FBI agents and the task force members who
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           1      were involved were actually like actors, correct?

           2      A.    Actors?

           3      Q.    Sure, they were playing a role.       You played a role, for

           4      example, in a number of these.

           5      A.    I played one role, yes.      I made a telephone call.

           6      Q.    And you pretended to be someone you were not, correct?

           7      A.    Correct.

           8      Q.    So the FBI got the drugs out of the evidence locker,

           9      brought them to New Hampshire and Pelon, CW-1, was pretending

10:49AM   10      to play a part, too, correct?

          11      A.    Right.

          12      Q.    And in those situations, he was pretending to play the

          13      part of a drug dealer, correct?

          14      A.    Courier.

          15      Q.    Courier?

          16      A.    Yes.

          17      Q.    And that was a role that he had some experience with in

          18      real life?

          19      A.    Yes.

10:49AM   20      Q.    And you were playing a role in one of them, you said?

          21      A.    Yes.

          22      Q.    And what role were you playing?

          23      A.    I made the phone call acting as the drug dealer.

          24      Q.    And when people went to pick up the drugs, was that at the

          25      Kowloon parking lot in Saugus?
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           1      A.    Yes.

           2      Q.    And were there people there playing the role of

           3      individuals delivering the drugs to Pelon?

           4      A.    Yes, undercover officers.

           5      Q.    And so they were essentially acting the part of drug

           6      dealers, correct?

           7      A.    Yes.

           8      Q.    And there were people in New Hampshire on the receiving

           9      end -- undercover agents, correct?

10:50AM   10      A.    Correct.

          11      Q.    And they were, you know, essentially acting out a role as

          12      well, correct?

          13      A.    Yes.

          14      Q.    They were acting out the role of receiving the drugs?

          15      A.    Right.

          16      Q.    And there were video recordings that were set up for these

          17      transactions, correct?

          18      A.    Correct.

          19      Q.    And still photographs taken, correct?

10:50AM   20      A.    Yes.

          21      Q.    And it was essentially -- Trooper, this may be before your

          22      time, but it was like an episode of Candid Camera where

          23      everybody but the people who were involved in the drug

          24      transaction knew what was really going on, correct?

          25      A.    Well, they knew what was going on.       They thought they were
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           1      transferring a large quantity of drugs from one drug dealer to

           2      another one.

           3      Q.    Well, you'd agree, sir, that everybody who was working

           4      with law enforcement knew that these were the FBI drugs and

           5      they were being brought to New Hampshire solely for the purpose

           6      of making a case, correct?

           7      A.    Well, we knew, yes.

           8      Q.    But none of the other people did, of course, correct?

           9      A.    Right, they thought that they were protecting drugs.

10:51AM   10                MR. IOVIENO:    Objection.    Motion to strike.

          11                THE COURT:     I'll let it stand in context.

          12      Q.    Now, so that was one kind of occasion when CW-1 helped you

          13      do some things that were proactive, correct?

          14      A.    Correct.

          15      Q.    And there were other kinds of things that he did that you

          16      worked with him to do proactive things, correct?

          17      A.    Right.

          18      Q.    So, you testified on your first day of direct examination

          19      about events that took place on May 12, 2015, correct?

10:51AM   20      A.    Okay.

          21      Q.    That was a stabbing that took place in Highland Park in

          22      Chelsea, do you recall that?

          23      A.    Yes, I do.

          24      Q.    In that case, you recall, sir, from your work on the task

          25      force that Muerto was with Pelon, CW-1, correct?
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           1      A.    Yes.

           2      Q.    And they got a call from some individuals who were at a

           3      park in Chelsea, correct?

           4      A.    Yes.

           5      Q.    And those individuals were members of the Eastside clique?

           6      A.    Yes, some were, some were from a different clique.

           7      Q.    And as a result of that call, sir, you know from your work

           8      on the task force, Pelon and Muerto were together, right?

           9      A.    Yes.

10:52AM   10      Q.    And Pelon or Muerto called another person, correct?

          11      A.    Yes.

          12      Q.    And who was that?

          13      A.    He went by Mingo.     His real name is Domingo DeSol.

          14      Q.    Domingo, correct?

          15      A.    Yes.

          16      Q.    And you've learned from your work on the investigation

          17      that Pelon asked Domingo to get a knife and meet them, correct?

          18      A.    Yes.   There was one version of it like that, yes.

          19      Q.    And that was Muerto's version, correct?

10:53AM   20      A.    Yes.

          21      Q.    And Muerto was a person that you interviewed in detail

          22      about this, correct?

          23      A.    Yes.

          24      Q.    And that was in one of the meetings that you had with him,

          25      correct?
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           1      A.    Correct.

           2      Q.    And that was a meeting that you had with him when he was

           3      under an obligation to tell the complete and accurate truth,

           4      correct?

           5      A.    Correct.

           6      Q.    And after Pelon asked Domingo to bring the knife, Pelon

           7      and Muerto and Domingo went to the park, correct?

           8      A.    Yes.

           9      Q.    And an individual named Minor Ochoa was stabbed, correct?

10:53AM   10      A.    Yes.

          11      Q.    Stabbed by Muerto, correct?

          12      A.    One story, yes.

          13      Q.    According to Muerto.

          14      A.    According to Muerto, yes, he stabbed him.

          15      Q.    And according to Muerto, when you met with him, he told

          16      you that Pelon helped, right?

          17      A.    Yes.

          18      Q.    And you'd agree, sir, that that was proactive activity

          19      that the task force members had not authorized, correct?

10:54AM   20                   MS. LAWRENCE:   Objection.

          21                   THE COURT:   Overruled.

          22      A.    Correct.

          23      Q.    So, Muerto was out there -- pardon me, so Pelon was doing

          24      some proactive work at the direction of the FBI, correct?

          25      A.    Yes.
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           1      Q.    And the task force, and some proactive work that was on

           2      his own, correct?

           3      A.    Well, I mean, in that situation, it was difficult.

           4      There's a few different versions of it, but, you know, Pelon at

           5      the time, CW-1 was with other MS-13 members and he's an MS-13

           6      member, and they believed him to be an MS-13 member and, you

           7      know, if he were involved in a situation where there was a

           8      violent act like that being committed and they didn't see him

           9      acting, or trying to help, or make an attempt to help, that

10:55AM   10      would put his safety at risk, so when you say he helped,

          11      there's different versions of how he helped.

          12      Q.    Okay.    Well, you talked in detail to Muerto about it,

          13      correct?

          14      A.    I did.

          15      Q.    And the government you know in this case has put Muerto on

          16      the stand, correct?

          17      A.    Yes, sir.

          18      Q.    And what Muerto said is that he was in the car with Pelon

          19      and that Pelon --

10:55AM   20                 MS. LAWRENCE:    Objection, your Honor.

          21                 THE COURT:    Overruled.

          22      Q.    And that they were going to --

          23                 MR. POHL:    Judge, may we approach?

          24      Q.    -- get something to eat, correct?

          25                 THE COURT:    Yes.
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           1                (THE FOLLOWING OCCURRED AT SIDEBAR:)

           2                MR. POHL:    I don't think it's proper for Mr. Murphy to

           3      ask as to what Hernandez Miguel testified at during the trial,

           4      how could he possibly know that?       And how would he be in a

           5      position to comment on it?

           6                THE COURT:    I guess it's fair that he didn't know what

           7      was said at the trial, but I was also assuming it was a set up

           8      to something.

           9                Mr. Murphy, where are you going with this?         He

10:56AM   10      obviously can't comment on Muerto's credibility.

          11                MR. MURPHY:    No, your Honor.     I was talking really

          12      about authorized and unauthorized acts and --

          13                THE COURT:    Where is that leading?

          14                MR. MURPHY:    Well, first of all, I'm asking about

          15      what -- this officer was present at Muerto's proffer when he

          16      told about this, so --

          17                THE COURT:    Well, you can ask about the proffer.

          18                MR. MURPHY:    I'll make it clear about that.       The

          19      answer, the question, your Honor, is that in terms of -- the

10:57AM   20      government has offered testimony through Muerto that it was

          21      essentially Herzzon Sandoval, my client, arranged to get

          22      Animal, Joel Martinez, back from New Jersey.

          23                THE COURT:    Right.

          24                MR. MURPHY:    I think I'm entitled to explore what the

          25      government was doing to cause certain events to happen rather
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           1      than what Mr. Sandoval was doing, and this is a lead-in to

           2      that.

           3                THE COURT:    I'm not sure I follow that.       In other

           4      words, first off, you can't impeach Muerto through prior

           5      inconsistent statements, or otherwise through this witness.

           6      It's not clear to me who you're impeaching or what you're

           7      establishing, and none of this has to do with Animal.             If I

           8      have my facts right, aren't we in Highland Park still?

           9                MR. POHL:    Yes.

10:57AM   10                THE COURT:    So I'm not following where you're going

          11      with this.

          12                MR. MURPHY:    First off, I think I should be allowed to

          13      impeach Muerto through this witness.        He was there at the

          14      proffer where he made statements inconsistent with his

          15      testimony.

          16                THE COURT:    Hasn't Muerto already been impeached with

          17      his prior inconsistent statements?       I mean, what does this

          18      witness add that isn't extrinsic evidence of a prior

          19      inconsistent statement through a different witness when Muerto

10:58AM   20      himself testified, and I think he --

          21                MR. MURPHY:    No, but he denied, your Honor, saying

          22      those things.    He admitted that the statements said it, but he

          23      denied saying those things.      He denied a number of those

          24      things.

          25                MR. POHL:    And then the proffer statements were read
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           1      in, and that's --

           2                  THE COURT:    And I think that's the way you do it.       You

           3      don't call another witness to impeach that.         I think you read

           4      in the prior inconsistent statements, which I think is what

           5      happened.    I mean, I'd have to take it on a

           6      question-by-question basis, but that's my memory of it.

           7                  But --

           8                  MR. LOPEZ:    Your Honor, with all due respect, there's

           9      two ways to put in an inconsistent statement.         One is

10:58AM   10      confronting the witness who said it, but also putting another

          11      witness on the stand who was present when the inconsistent

          12      statement was made.

          13                  MR. POHL:    But that -- you don't get to do it three or

          14      four times, right?       You can do it one way or you can do it the

          15      other way.    I don't think you can do it both ways.        And now

          16      that the -- the point is to make sure that the witness'

          17      inconsistent statement is before the jury.         That happened

          18      through the witness.

          19                  MR. LOPEZ:    He --

10:59AM   20                  THE COURT:    I allowed the proffer statement to be read

          21      even though it was a 302 and it wasn't a statement.

          22                  MR. LOPEZ:    But then he said that's what the report

          23      says.   He didn't say that's what I said.

          24                  MR. MURPHY:    Your Honor, given where we've stopped

          25      with this witness, which he has just essentially given a long
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           1      explanation for why Pelon, you know, might or might not have

           2      participated with the stabbing, I would like to ask one

           3      question.     The FBI did not instruct or the task force did not

           4      instruct Pelon to call Domingo to bring the knife that day and

           5      then move on.     I think that would be fair, give where he has

           6      left and then I'll move onto a different subject.

           7                   THE COURT:    Why don't we handle it that way.

           8                   (SIDEBAR CONFERENCE WAS CONCLUDED)

           9                   THE COURT:    Go ahead, Mr. Murphy.

11:00AM   10                   MR. MURPHY:    Thank you, your Honor.

          11      Q.    You'd agree, sir, that nobody from the FBI or the task

          12      force instructed CW-1 to call Domingo and say bring a knife,

          13      correct?

          14      A.    Yes.

          15      Q.    Now, sir, the stabbing of Irvin De Paz took place on

          16      September 20, 2015, right?

          17      A.    It sounds about right.

          18      Q.    And it's fair to say that during the course of this

          19      investigation.     There's been no evidence developed that anyone

11:00AM   20      from Eastside knew about that stabbing in advance, correct?

          21      A.    Correct.

          22      Q.    Now, you have determined however that Pelon, CW-1, did

          23      know Joel Martinez before September 20, 2015, correct?

          24      A.    I'm not sure.

          25      Q.    Okay.    You don't know one way or the other whether he --
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           1      A.    I think he met him after that incident.

           2      Q.    Okay.    Now, if we could go to, with the Court's

           3      permission, Exhibit 103 for the witness.          And, Trooper Estevez,

           4      have you seen this transcript before, Exhibit 103?

           5                   THE CLERK:    This is in evidence?

           6                   THE COURT:    Yes, it is in evidence.    You just want it

           7      for the witness?

           8                   MR. MURPHY:    For the witness, if I may, first.

           9      A.    Yes, I've seen it.

11:01AM   10      Q.    And do you recognize that as a conversation that took

          11      place between Mr. Martinez, also known as Animal, and Pelon,

          12      CW-1, on October 2, 2015?

          13      A.    Yes.

          14                   MR. MURPHY:    If we could show it to the members of the

          15      jury, please.

          16      Q.    Do you know whether Mr. Martinez and Pelon, CW-1, had ever

          17      spoken before October 2, 2015?

          18      A.    I don't think so.

          19      Q.    Now, Pelon says to CW-1 at the bottom of the page, and

11:02AM   20      "Hey, you just didn't take down any motherfucker, some idiot."

          21                   Did I read that correctly?

          22      A.    Yes.

          23      Q.    And Animal says, "No, a major culero."

          24      A.    Correct.

          25      Q.    And CW-1 says, "A major culero, I had already smashed his
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           1      head, dude, didn't they tell you?"

           2      A.    Yes.

           3      Q.    Did I read that correctly?

           4      A.    Correct.

           5      Q.    And in the course of your investigation, did you try to

           6      learn whether CW-1 had, in fact, had a prior altercation with

           7      Irvin De Paz?

           8      A.    During these conversations with these MS-13 members, he

           9      would often embellish and make things up to make himself sound

11:03AM   10      better and make himself sound like he's out there doing things.

          11      He would often ask us about incidents that had happened

          12      non-related in the area, and that way he could say that he saw

          13      it, or he was there, or he would make things up from things

          14      that he's heard on the news and things like that so they can

          15      believe that when he talked to them that he was being active

          16      out there, being proactive for the MS-13.

          17      Q.    If we could turn to the next page, please.         About a third

          18      of the way down, he says, "Scooby and I -- ask Snoopy.            I gave

          19      him a fucking beating with Snoopy."

11:04AM   20                   Did I read that correctly?

          21      A.    Yes.

          22      Q.    Are those real people that you know of from the course of

          23      the investigation?

          24      A.    Correct, I do.

          25      Q.    So if CW-1 was concerned about verifying his credentials
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           1      to Mr. Martinez, is it fair to say that he had given them some

           2      names that Mr. Martinez could check with?

           3      A.    He did.

           4      Q.    And if he hadn't done it, that is, if he hadn't beaten

           5      Mr. De Paz and Mr. Martinez checked with those individuals,

           6      Mr. Martinez would find out that CW-1 was lying, correct?

           7      A.    I mean, there's a lot of people with the same nicknames

           8      out there.    I don't know if Animal at the time knew who Scooby

           9      or Snoopy were.    He could have just made it up on the fly, so

11:05AM   10      I'm not sure that's correct.

          11      Q.    But you don't know.     You're just guessing.      You don't know

          12      one way or the other, correct?

          13      A.    I don't.

          14      Q.    But it is true that CW-1 said that he had beaten

          15      Irvin De Paz, correct?

          16      A.    Correct.

          17      Q.    And it is true that he told Mr. Martinez, Animal, if you

          18      don't believe me, ask these two other people, correct, in

          19      essence?

11:05AM   20      A.    That's what he said, yes.

          21      Q.    And it's a fact, sir, is it not, that you don't know one

          22      way or the other whether CW-1 had actually beaten up

          23      Irvin De Paz before his stabbing by Joel Martinez?

          24      A.    I don't.

          25      Q.    Now, after this conversation, Mr. Martinez went to
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           1      New Jersey, correct?

           2      A.    Yes.

           3      Q.    And the FBI and the task force knew that he had gone to

           4      New Jersey, correct?

           5      A.    We had heard information from CW-1 that he had moved to

           6      New Jersey.

           7      Q.    Because he was in regular contact with CW-1, correct?

           8      A.    Correct.

           9      Q.    And CW-1 was calling him regularly, correct?

11:06AM   10      A.    Yes.

          11      Q.    To stay in touch with him, correct?

          12      A.    Correct.

          13      Q.    And you had known by this point that Mr. Martinez had

          14      confessed to the murder of Mr. De Paz, correct?

          15      A.    We had the video, yes.

          16      Q.    Now, was there a time when CW-1 went down to visit

          17      Mr. Martinez in New Jersey?

          18      A.    Yes.

          19      Q.    And did you go with him?      Was there surveillance?

11:06AM   20      A.    I did not go with him.

          21      Q.    Did you debrief him afterwards?

          22      A.    I'm sure someone did.     I didn't.    I don't think I did

          23      personally.

          24      Q.    And when that debriefing took place, do you know whether

          25      Pelon, CW-1, told the agents who debriefed them where
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           1      Mr. Martinez was living?

           2      A.    I believe he did.

           3      Q.    So the task force knew where he was living in New Jersey,

           4      correct?

           5      A.    I believe so, yes.

           6      Q.    Now, at that point, sir, you knew that Mr. Martinez had

           7      been involved in a murder, correct?

           8      A.    Yes.

           9      Q.    And you knew where he was living in New Jersey, correct?

11:07AM   10      A.    Yes.

          11      Q.    Is it fair to say that at no time during this

          12      investigation before Mr. Martinez was arrested, the members of

          13      the gang task force give a photograph of Mr. Martinez to the

          14      Boston Police to put in a photo array for a witness?

          15      A.    That we never did?

          16      Q.    Yes.

          17      A.    Photo array?

          18      Q.    Before Mr. Martinez' arrest as part of the big --

          19      A.    The only evidence that this task force had developed was

11:07AM   20      the video evidence from the vehicle that CW-1 was driving, so

          21      we had a picture from that particular video.         That's all we had

          22      at that point.    So at this point, if we were to give that video

          23      or that picture or take a picture of the video of the face and

          24      put that in a photo book, it would, 1, identify that we had a

          25      video, and I don't know what police department wouldn't ask for
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           1      that video at that point.

           2                And that picture was also taken in a car, which I'm

           3      sure that if that picture was shown, people would understand

           4      that we had a car and Animal would be able to put that later

           5      on, two and two together, that that was his conversation with

           6      CW-1, and, again, it would put the safety of CW-1 at risk and

           7      the safety of -- not the safety, but the entire case and all

           8      the other individuals, the leaders that we were trying to get

           9      to and the other members that we were trying to arrest with

11:08AM   10      time and identify at risk of them fleeing because, as you know,

          11      MS-13 is a very transient gang, and --

          12                MR. MURPHY:    Your Honor, I'm going to ask the witness

          13      to cease the answer at that point.

          14      Q.    Sir, your testimony is that's the only photograph you had

          15      of Joel Martinez?

          16      A.    Well, there was a video at the time.

          17      Q.    And it's your testimony there was no other photograph that

          18      the police had?

          19      A.    That I knew of at the time, right after the confession,

11:09AM   20      that's the only evidence.

          21      Q.    And you weren't here when --

          22      A.    I'm sorry?

          23      Q.    You weren't here when Special Agent Wood testified?

          24      A.    I was not.

          25      Q.    Now, did the task force conduct any investigation as to
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           1      whether Mr. Martinez was in the country legally?

           2      A.    I'm sure we did.

           3      Q.    All right.     And do you know what the results of that

           4      investigation were?

           5      A.    I believe he was undocumented.

           6      Q.    And so you're aware, sir, that immigration authorities can

           7      pick up an undocumented alien at any time for any purpose?

           8      A.    Yes.

           9      Q.    And it's fair to say that the task force didn't request

11:10AM   10      that immigration pick up Mr. Martinez at any time after his

          11      confession to murder on November 2, 2015, correct?

          12      A.    That's correct, because the immigration system -- let me

          13      finish the answer, sir.       I'm going to give you the reason why

          14      that didn't happen, and that is because --

          15      Q.    Please, sir.

          16                   THE COURT:    Hold on.   Do you want the reason why,

          17      Mr. Murphy?

          18                   MR. MURPHY:    I think --

          19      Q.    Let me ask you this.      If the immigration -- if he had

11:10AM   20      been -- if you had alerted the immigration authorities, they

          21      could have deported him?       Yes or no, sir.

          22      A.    Immigration has one job, and that's to round up

          23      undocumented individuals and deport them.

          24      Q.    Yes.

          25      A.    And once they're in immigration custody --
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           1                   THE COURT:   Hold on.   The question will be asked on

           2      redirect why you didn't do that.

           3      Q.    Now, after Pelon visited Mr. Martinez in New Jersey, Pelon

           4      came back, correct?

           5      A.    Yes.

           6      Q.    And then he and the agents on the task force devised

           7      another proactive plan, correct?

           8      A.    Yes.

           9      Q.    And that was for him and Muerto to go down to New Jersey

11:11AM   10      to bring him back, correct?

          11      A.    Correct.

          12      Q.    And that was something that the task force knew about,

          13      correct?

          14      A.    Yes.

          15      Q.    And the task force knew that Mr. Martinez was back in the

          16      Boston area, correct?

          17      A.    Yes.

          18      Q.    Because the task force knew that he was at odds with the

          19      Everett clique, correct?

11:11AM   20      A.    Correct.

          21      Q.    And that was because he owed money, correct, to the

          22      Everett clique?

          23      A.    There was a debt owed and there was some issues because

          24      they didn't want to promote him to become a homeboy.

          25      Q.    Because at one point he had been an 18th Street member, is
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           1      that correct, or hung around with 18th Street members?

           2      A.    He first wanted to be promoted to become a homeboy, and

           3      the reason they weren't doing that is because they had -- there

           4      was information that they were saying that before becoming

           5      MS-13, or hanging out with MS-13, he had 18th Street friends,

           6      one of which he attacked also.

           7      Q.    And so those were the things that he was at odds with the

           8      Everett clique about, correct?

           9      A.    Yes.

11:12AM   10      Q.    And the -- and you knew that he was at odds with the

          11      Everett clique, correct?

          12      A.    Yes.

          13      Q.    And so the plan was to try to see whether he could be

          14      introduced to members of the Eastside clique, correct?

          15      A.    Correct.   We wanted Animal to come back and stay in Boston

          16      because obviously we had pending charges on him, and we didn't

          17      want him to be in New Jersey where -- like, again, they're very

          18      transient, they could disappear, go to a different state and

          19      then we'd lose them, so we had to get him back to Boston so we

11:13AM   20      could keep an eye on him and keep him here.

          21      Q.    Okay.   And because you wanted to introduce him to members

          22      of the Eastside clique, correct?

          23      A.    That was the idea.

          24      Q.    That was the idea, correct?

          25      A.    For Mako to introduce him, yes.
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           1      Q.    Now, you said you wanted to keep an eye on him, correct?

           2      A.    Correct.

           3      Q.    What exactly did you do to keep an eye on Joel Martinez

           4      between the time he came back and the time that he was jumped

           5      into Eastside on January 8th?

           6      A.    Well, he was in close contact with CW-1 and CW-1 was

           7      reporting on him constantly.

           8      Q.    He committed at least one stabbing, correct?

           9      A.    That is correct.

11:13AM   10      Q.    And he may have committed a second, correct?

          11      A.    Correct.

          12      Q.    After he was brought back here?

          13      A.    Yes.

          14      Q.    And while you were keeping an eye on him, correct?

          15      A.    Well, again, he was reporting on Animal at the time.

          16      Again, we couldn't have made the arrest on Animal because it

          17      would have, again, put CW-1's safety at risk and the integrity

          18      of the case at risk.

          19      Q.    Your decision, you'd agree, to bring him back from

11:14AM   20      New Jersey back to Boston?

          21      A.    The task force's decision, yes.

          22      Q.    Now, you testified about a meeting that took place on

          23      January 8, 2016 of the Eastside clique?

          24      A.    Yes.

          25      Q.    And that was the meeting that -- where Mr. Martinez,
               Case 1:15-cr-10338-FDS Document 2564 Filed 06/22/18 Page 87 of 113
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           1      Animal, was jumped into the clique, correct?

           2      A.      Yeah, he was jumped in because of the homicide.

           3      Q.      And we've heard the tape, correct?

           4      A.      Yes.

           5      Q.      And you'd agree, sir, that he was jumped in after that

           6      homicide was completed, correct?

           7      A.      Yes.

           8      Q.      After the fact, correct?

           9      A.      Yes.

11:15AM   10      Q.      And he was arrested shortly thereafter, correct?

          11      A.      Yes.

          12      Q.      And you testified earlier that you have no evidence from

          13      the task force that anyone from the task force knew of

          14      Mr. Martinez' participation in the murder of Mr. De Paz before

          15      it took place, correct?

          16      A.      Yes.

          17      Q.      So, jumping him in and all the other statements that were

          18      made.    And in that meeting -- sorry, your Honor.        In that

          19      meeting, in addition to jumping him in, they also agreed to

11:15AM   20      help him find a place to stay, correct?

          21      A.      Yes.

          22      Q.      And hide him from the police, correct?

          23      A.      Correct.

          24      Q.      And all of those things were things that they did, you'd

          25      agree, almost three months after Mr. De Paz' murder?
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           1      A.    Yes.

           2      Q.    And they were all done, you'd agree, after the fact?

           3      A.    Yes.

           4                   MR. MURPHY:     May I have a moment, your Honor?

           5                   THE COURT:     Yes.

           6                   MR. MURPHY:     No further questions, your Honor,

           7      thank you.

           8                   THE COURT:     All right.   Mr. Iovieno.

           9                   MR. IOVIENO:    Thank you, your Honor.

11:16AM   10                                    CROSS-EXAMINATION

          11      BY MR. IOVIENO:

          12      Q.    Good morning, again.

          13      A.    Good morning, sir.

          14      Q.    You testified that the video that you identified here on

          15      your prior testimony, there are a number of people present

          16      inside that garage, right?

          17      A.    For the Animal beating?

          18      Q.    Yes.

          19      A.    Yes.

11:16AM   20      Q.    And the camera didn't catch all the people that were

          21      present at that meeting, right?

          22      A.    I don't know.       It's a long video.   It probably did.   It

          23      maybe missed one or two people, I don't know.

          24      Q.    Okay.    But the camera was focused at periods of times up,

          25      and then it moved down because CW-1 was moving up and down?
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           1      A.    Yes.

           2      Q.    Okay.   And you understand that there were conversations

           3      that were occurring overlapping each other, right?

           4      A.    Yeah, there was a lot of people talking.

           5      Q.    A lot of people talking at once?

           6      A.    Yes.

           7      Q.    And there was a lot of people talking off camera?

           8      A.    Yes.

           9      Q.    And you didn't identify everybody who was in that meeting,

11:17AM   10      did you?

          11      A.    Again, there might have been one or two people that

          12      weren't identified.

          13      Q.    There could have been more than one or two people, right?

          14      How many people were there?

          15      A.    I'm not sure.    I have -- I'm sure there's a list of people

          16      that were there from a debrief with CW-1 which usually happens.

          17      Q.    But you don't know how many people?

          18      A.    Not off the top of my head.      No, I don't.

          19      Q.    And, again, from your testimony previously, you identified

11:18AM   20      another individual who was identified as Lobo, correct?

          21      A.    On the video?

          22      Q.    No, you identified in your investigation another person

          23      named Lobo, right?

          24      A.    It wasn't another person.      They just had the wrong name.

          25      It was early in the investigation.       Are you taking about the
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           1      name that was different?

           2      Q.     It was Jose Argueta Rodriguez.       It was another person

           3      named Lobo, correct?

           4      A.     It's not another person.     It's the same person with a

           5      different name.

           6      Q.     You said the other day it was another person?

           7      A.     You said -- I never said it was a different person.          You

           8      said is this the person you identified as Lobo, and I said yes.

           9      Q.     You identified another person identified as Lobo in the

11:18AM   10      drug protection detail of December 14th as a target, did you

          11      not?

          12      A.     I'm not sure I understand.

          13      Q.     You don't remember your testimony from the other day?

          14      A.     I'm not sure I understand the question, sir.

          15      Q.     Did you or did you not testify that the target of the

          16      investigation for the December 8, 2014 drug protection detail

          17      identified another individual by the name of Lobo?

          18      A.     I don't know.    I don't think so.    I don't know.

          19      Q.     You don't think so, or you just don't remember?

11:19AM   20      A.     I don't remember.

          21                 MR. IOVIENO:    Thank you.

          22                 THE COURT:     Mr. Lopez.

          23                                  CROSS-EXAMINATION

          24      BY MR. LOPEZ:

          25      Q.     Trooper Sanchez.
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           1      A.      Estevez.

           2      Q.      Estevez.    The transcripts that you've reviewed, have you

           3      reviewed them as you were listening to the tapes?

           4      A.      In the past, yes, I have.

           5      Q.      And did you have any role in identifying who the speakers

           6      were?

           7      A.      On which transcript?

           8      Q.      On any of the transcripts.

           9      A.      Did I have a role?

11:19AM   10      Q.      Yes.

          11      A.      In identifying who the speakers were?

          12      Q.      Yes.

          13      A.      You'd have to be more specific.     I've listened to a lot of

          14      transcripts and videos.

          15      Q.      There's been testimony in this case that it was Muerto who

          16      identified the speakers in the transcripts that the government

          17      is offering?

          18      A.      Correct.

          19      Q.      Is that what your understanding is?

11:20AM   20      A.      I believe so, yes.

          21      Q.      So you did not have a role with identifying the speakers

          22      in the transcripts that have been presented in this case,

          23      correct?

          24                     MS. LAWRENCE:   Objection, your Honor.

          25                     THE COURT:   Overruled.
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                                                                                    14-92




           1      A.      In this final transcript?     No.

           2                  MR. LOPEZ:   Thank you.

           3                  MR. NORKUNAS:   Nothing, Judge.

           4                  THE COURT:   Redirect.

           5                               REDIRECT EXAMINATION

           6      BY MS. LAWRENCE:

           7      Q.      Trooper Estevez, why didn't you tell the immigration

           8      authorities to arrest Animal on administrative immigration

           9      charges in the fall of 2015?

11:20AM   10      A.      So through our time with this investigation, immigration

          11      has, like I said, one job, and that's to deport undocumented

          12      immigrants from the country.       Once that process is started,

          13      once they have that person in custody -- I know through the

          14      investigation, because it happened to us before, once that

          15      person is in custody with them, it's about a two to three-week

          16      turnaround before they're on the plane, and we know through the

          17      investigation that MS-13 members who have committed crimes and

          18      know that they're possibly pending charges against them would

          19      expedite their deportation out of the country, so they're not

11:21AM   20      charged with those crimes, and they're forced to stay here in

          21      jail.

          22                  So once they're in custody, they can waive their right

          23      to -- I believe it's like an immigration trial, or I don't know

          24      exactly what the process is, but they waive that right, and

          25      they're swiftly on the plane back home to wherever they're
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           1      from.

           2                     In that case, we would have, again, lost Animal to

           3      El Salvador, or I believe he's Salvadorean, to his country of

           4      origin, and the murderer would have been gone.

           5      Q.      You said that happened to you before the investigation?

           6      A.      Yes.

           7      Q.      Was there a particular individual you were referring to?

           8      A.      Smiley/Danger.

           9      Q.      And you explained who that was, but can you remind the

11:22AM   10      jury how he's related to this investigation?

          11      A.      He was involved in a homicide that occurred in Lawrence,

          12      Massachusetts where an individual by the name of Fantasmo was

          13      murdered.

          14      Q.      And Trooper Estevez, was CW-1's safety the only reason you

          15      didn't immediately arrest Animal once you heard him confess on

          16      tape?

          17      A.      No.    Again, it was a very large case with a lot of moving

          18      parts.    There were a lot of targets, and instead of, as we say,

          19      maybe putting a Band-Aid on the problem and arresting Animal

11:22AM   20      right away and not being able to get to the leaders and the

          21      leadership here in Massachusetts who are kind of, you know, the

          22      person that works the puppets from behind the scene.

          23                     MR. LOPEZ:    Objection, your Honor.

          24                     THE COURT:    I'll strike that piece of it.

          25                     MR. MURPHY:    Objection, your Honor.
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           1      A.    We needed to get to the leadership --

           2                MR. MURPHY:     Objection, your Honor.

           3                THE COURT:    I think the topic of why the investigation

           4      wasn't taken down immediately was raised, and I'll let him

           5      explain it.    I just don't want you to characterize individuals

           6      or their roles, but go ahead.

           7      A.    Again, we knew that there was a lot of different cliques,

           8      a lot of different crimes being committed by these cliques, a

           9      lot of different charges, a lot of violent acts that we were

11:23AM   10      doing, and we were trying to identify the majority of the

          11      clique leaders and establish good cases against them, so we can

          12      take down the entire organization here in Massachusetts and try

          13      to create a void of MS-13 here for a while and stop the violent

          14      acts that we were having.

          15                THE COURT:    Let's stop there.

          16      Q.    Trooper Estevez, you were asked some questions about the

          17      drug protection details.      Just to be clear, the person that you

          18      saw and identified as Lobo on surveillance during the

          19      December 8, 2014 drug protection detail is the same person you

11:24AM   20      identified as Lobo here in this courtroom, correct?

          21      A.    Correct.

          22      Q.    Okay.

          23                MS. LAWRENCE:     I have nothing further, your Honor.

          24                THE COURT:    Mr. Murphy.

          25
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           1                               RECROSS-EXAMINATION

           2      BY MR. MURPHY:

           3      Q.    Trooper, you were working -- there was a Homeland Security

           4      agent detailed to the task force, correct?

           5      A.    Yes.

           6      Q.    And who was that person?

           7      A.    They change, but the last one was Agent Flynn.

           8      Q.    And having a Homeland Security person assigned to the task

           9      force allows you to work closely with immigration, correct?

11:24AM   10      A.    Correct.

          11      Q.    And you testified about Danger/Smiley being deported,

          12      correct?

          13      A.    Yes.

          14      Q.    Did you know that Danger/Smiley had gone into immigration

          15      custody before he was deported?

          16      A.    No.

          17      Q.    So it wasn't a case where you would have requested that

          18      immigration take a person into custody, correct?

          19      A.    Correct.

11:25AM   20      Q.    And you don't know, you did not have an experience in this

          21      case of having a person go into immigration custody and having

          22      law enforcement say please keep him in the country, correct?

          23      That did not happen in this case, correct?

          24      A.    That we had somebody arrested by immigration and tried to

          25      keep him?
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           1      Q.    And that you tried to keep him, correct?

           2      A.    I don't remember.

           3      Q.    And you know for a fact, sir, given immigration's

           4      cooperation with law enforcement that if you had made that

           5      request, Mr. Martinez would not have been immediately deported;

           6      isn't that true, sir?

           7      A.    I don't know for a fact.

           8      Q.    You don't know one way or the other?

           9      A.    I believe that they need a reason to hold him and to keep

11:25AM   10      them, and if he waives his right of whatever it is to see a

          11      Judge, an immigration Judge, I believe that he's entitled to

          12      his swift deportation out of the country.

          13      Q.    And it's your testimony that a request from law

          14      enforcement would not have been enough to keep him?

          15      A.    I don't know that to be true.

          16      Q.    You're guessing one way or the other, correct?

          17      A.    I believe that they would need more.

          18      Q.    But you don't know, sir, correct?

          19      A.    Correct.

11:26AM   20      Q.    Because that's not something that you have ever tried in

          21      your experience to do?

          22      A.    To do what?

          23      Q.    To try to have a person arrested on an -- in an

          24      immigration custody and have law enforcement keep him there,

          25      correct?
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           1      A.    Yeah.    We've done that.

           2      Q.    You have done that?

           3      A.    Yeah.

           4                  MR. MURPHY:     I have no further questions, thank you.

           5                  THE COURT:     Anything else?

           6                  MR. IOVIENO:    No, your Honor.

           7                  THE COURT:     All right.   You may step down.

           8                  MS. LAWRENCE:     No, thank you, your Honor.     We're

           9      finished.

11:26AM   10                  THE COURT:     The government rests?

          11                  MR. POHL:    I'm sorry, your Honor.    Yes.    The

          12      government rests.

          13                  THE COURT:     All right.   Why don't we take a break.

          14                  THE CLERK:     All rise.

          15                  THE COURT:     A break for the jury.

          16                  I'll see counsel at sidebar.

          17                  (THE FOLLOWING OCCURRED AT SIDEBAR:)

          18                  THE COURT:     First, before we get to the motions, I

          19      want to express my appreciation to all of you for expediting

11:27AM   20      the case.     What could have been a very lengthy case, I think,

          21      was streamlined, and I very much appreciate that.

          22                  Is there a defense motion?      I guess I'll take it one

          23      at a time, Mr. Lopez.

          24                  MR. LOPEZ:     Yes, your Honor.

          25                  THE COURT:     Motion for acquittal?
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           1                MR. LOPEZ:     Yes, motion for acquittal.

           2                MR. NORKUNAS:     I join in that motion for acquittal for

           3      this defendant.

           4                MR. MURPHY:     A required finding of not guilty.        I

           5      guess I'm not going to ask all the way for acquittal.

           6                MR. IOVIENO:    I join in that motion.

           7                THE COURT:     All right.   Those motions are denied.

           8                All right.     Will there be a defense case?

           9                MR. MURPHY:     Your Honor, Mr. Sandoval will read a

11:28AM   10      stipulation to the jury, which I think hopefully we now have,

          11      that will be Mr. Sandoval's defense.

          12                THE COURT:     Okay.   He's not going to read it, you're

          13      going to read it, though?

          14                MR. MURPHY:     One of us will read it.     Ms. Rodriguez

          15      has been the most effective lawyer in the courtroom.

          16                THE COURT:     I'm prepared to make that finding.

          17                MR. MURPHY:     I was planning to read it, yes.         It's

          18      about two pages long.

          19                THE COURT:     Okay.   And is that it?

11:28AM   20                MR. NORKUNAS:     I have two documents to be introduced.

          21      One is his work authorization form, and I think we had an

          22      argument relative to relevance the other day.         I'm not sure if

          23      the government is still pressing that, and the second one is a

          24      portion of the January 8th transcript, and the government

          25      wanted to ensure that I had the right version because there had
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           1      been multiple drafts, three pages of that.

           2                THE COURT:    Okay.   Why don't I take a look at the work

           3      authorization.    Are you still objecting to the work

           4      authorization form?     It's either yes or no, either you object

           5      or you don't.     You can say you don't object with a grimace on

           6      your face.     I accept that.

           7                MR. POHL:    All right, with a grimace, yes.       Can I just

           8      say this before you put it in?       I just want to make sure that

           9      this is 100 percent clear.      The phone number that is -- that we

11:29AM   10      used to tie Cesar Martinez to the drug protection detail is on

          11      that form, all right, so I want to make sure that Mr. Norkunas

          12      understands that before he offers this.        But if that's the

          13      position that Mr. Norkunas that he wants it, then with a

          14      grimace I will allow it.

          15                THE COURT:    All right.    If it's offered, I don't

          16      understand the government to object, and the transcript, is

          17      that an issue?

          18                MR. POHL:    No, give us 30 seconds to work it out, but

          19      I think not.

11:29AM   20                MR. LOPEZ:    Your Honor, I anticipate calling my

          21      wife -- my client's wife for some brief testimony.          I also have

          22      some --

          23                THE COURT:    Is she here today?

          24                MR. LOPEZ:    She's not here today.

          25                THE COURT:    Okay.   How far away is she?
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           1                 MR. LOPEZ:    She's working.     I don't know if I can get

           2      to her.    She doesn't pick up her phone.

           3                 THE COURT:    Is this something that we could handle

           4      Tuesday without really -- because otherwise what I was about to

           5      say was I'd send the jury home, and we will -- when we're done

           6      with this and have arguments and instruction on Tuesday and

           7      tell the jury that they're likely to get the case on Tuesday,

           8      but if we have 15 minutes of testimony --

           9                 MR. LOPEZ:    It's not going to be a long witness, and I

11:30AM   10      also have some Registry of Motor Vehicle documentation and some

          11      other business records that I think we can just agree on.

          12                 MR. POHL:    We'll talk.    It is whatever it is.       I agree

          13      with the calculus about getting the case to the jury on

          14      Tuesday.

          15                 THE COURT:    What we'll do, as soon as the jury is

          16      ready, we'll bring them in.       We'll accomplish what we can

          17      accomplishing today, including Ms. Rodriguez reading the

          18      stipulation clearly and effectively, and I'll tell the jury

          19      what's going on and that they should be prepared to be here all

11:31AM   20      day Tuesday, and then I'll send them home, and then we'll talk

          21      about logistics, including the charge conference, the length of

          22      closings, that sort of thing.       Okay.

          23                 MR. POHL:    Thank you, your Honor.

          24                 (SIDEBAR CONFERENCE WAS CONCLUDED)

          25                 THE CLERK:    All rise for the jury.
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           1                  (JURORS ENTERED THE COURTROOM.)

           2                  THE CLERK:   Thank you.    You may be seated.     Court is

           3      now back in session.

           4                  THE COURT:   All right.    Ms. Rodriguez, are we starting

           5      with you?

           6                  MS. RODRIGUEZ:   Your Honor, with the Court's

           7      permission, I'd like to read a stipulation between the

           8      United States and Herzzon Sandoval.

           9                  THE COURT:   All right.    I may have given you this

11:44AM   10      instruction, ladies and gentlemen.        A stipulation is sort of a

          11      fancy legal word.     It just means something that the parties

          12      agree on, facts that they agree are true, and it appears that

          13      the government and Defendant Sandoval have agreed that whatever

          14      is about to be read is true and you may accept it as true.

          15                  Go ahead, Ms. Rodriguez.

          16                  MS. RODRIGUEZ:   The United States and Herzzon Sandoval

          17      hereby stipulate and agree to the following facts:

          18                  "On May 28th, 2013, CW-1, also known as Pelon, advised

          19      agents that he participated in a telephone conference led by

11:44AM   20      MS-13 member "Little Donkey," who was incarcerated in the

          21      Ciudad Barrios Prison in El Salvador."

          22                  The parties discussed the MS-13 leadership's need for

          23      money from MS-13 cliques based in the United States.           CW-1

          24      advised agents that others present for the call included

          25      "Blacky," incarcerated in Cuidad Barrios, formerly a leader of
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           1      the Virginia Program in the United States, which is now called

           2      the East Coast Program; "Sicano" from Chalatenango,

           3      El Salvador; "Delinquente" from the Psycho Locos Salvatrucha

           4      TLS clique in Massachusetts, Noe Perez Vazquez, a/k/a "Crazy,"

           5      from the Everett Locos Salvatrucha ELS clique in Massachusetts;

           6      "Pacho," from the East Boston Salvatrucha EBS clique in

           7      Massachusetts, and "Scrappy," or "Little Scrappy," from Kansas

           8      City, Missouri."

           9                 "On November 15, 2013, CW-1 advised agents that

11:45AM   10      Herzzon Sandoval, a/k/a, Casper, and Jose Hernandez-Miquel,

          11      a/k/a "Muerto," spoke with MS-13 leaders in El Salvador who

          12      wanted to make Muerto the leader of MS-13's Eastside Loco

          13      Salvatrucha ESLS clique.      Additionally, MS-13 wants to make a

          14      rule requiring members of the gang to send money to other MS-13

          15      members who are imprisoned."

          16                 "On February 7th, 2014, CW-1 advised agents that

          17      Herzzon Sandoval, a/k/a "Casper," talked about the shooting of

          18      an MS-13 member named Tecolote and instructed the members of

          19      ESLS to not go anyone alone and to travel in groups of two or

11:46AM   20      three."

          21                 "CW-1 also spoke with Jose Hernandez-Miguel, a/k/a

          22      "Muerto," who said that Noe Perez Vazquez, a/k/a "Crazy," knew

          23      about the meeting that ESLS had the previous week at the auto

          24      garage in Everett.     Muerto told CW-1 that he was going to tell

          25      Casper about this because Casper wants to keep the ESLS
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           1      meetings a secret from MS-13 in El Salvador."

           2                  "CW-1 said that MS-13 leaders in El Salvador want the

           3      United States based MS-13 cliques to follow the rules set by

           4      MS-13 leadership in El Salvador.        For example, if an MS-13

           5      member in El Salvador breaks two rules in one year, he will be

           6      shot with a shotgun in the leg."

           7                  "MS-13 in El Salvador also extorts money from local

           8      businesses.    Casper said that he does not want to follow those

           9      rules because the police are more active in the United States."

11:47AM   10                  "On February 8th, 2014, CW-1 advised agents that the

          11      ESLS clique hung out yesterday at the garage in Everett

          12      drinking and talking about MS-13 in El Salvador.

          13      Herzzon Sandoval, a/k/a "Casper," and Edwin Guzman, a/k/a

          14      "Playa," talked about MS-13 members Simpson and Crazy getting

          15      beaten up in El Salvador."

          16                  Casper said he wanted to talk to the other clique

          17      leaders in the Boston area about no longer sending money to

          18      MS-13 in El Salvador because they do not know where the money

          19      is going.    Casper said he wanted the money sent by ESLS to

11:48AM   20      El Salvador to go to deported ESLS clique members.

          21                  "On April 22nd, 2014, CW-1 advised agents that

          22      Herzzon Sandoval, a/k/a "Casper," was angry that MS-13 member

          23      Tremendo was acting like he's in El Salvador.          Casper made this

          24      statement in connection with Tremendo's alleged involvement in

          25      the recent shooting of an 18th Street gang member:           'Casper
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           1      told members of ESLS that Tremendo is stupid.'"

           2                 "CW-2, also known as "Clacker," advised agents that he

           3      was a paro of an MS-13 clique, not the Eastside

           4      Locos Salvatrucha clique, CW-2 and his clique committed

           5      racketeering acts in furtherance of the MS-13 enterprise,

           6      including robberies.      CW-2 also advised that when his clique

           7      leader was incarcerated, he participated with others in his

           8      clique and an individual from a different clique in a large

           9      number of robberies without telling the acting clique leader."

11:49AM   10                 Thank you, your Honor.       That's all.

          11                 THE COURT:    All right.     Thank you.

          12                 All right.    Mr. Norkunas.

          13                 MR. NORKUNAS:    Your Honor, I would have two documents

          14      that I would be introducing on behalf of Mr. Martinez.

          15                 THE COURT:    Okay.

          16                 MR. NORKUNAS:    And I believe by agreement with the

          17      first one, it could be Exhibit Number 232.

          18                 THE COURT:    What is 232?

          19                 MR. NORKUNAS:    This would be a copy filed by my

11:50AM   20      client, Cesar Martinez, in 2008.        It's a Department of Homeland

          21      Security form, an application for his employment authorization,

          22      and that shows where he was living at that time in 2008.

          23                 THE COURT:    All right.     It's admitted, 232.

          24                 (Exhibit No. 232 received into evidence.)

          25                 MR. NORKUNAS:    And if I could just show the cover
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           1      page, Judge.

           2                 THE COURT:     Yes.

           3                 MR. NORKUNAS:     And it bears the signature of the

           4      defendant at the bottom, and it shows a listed home address of

           5      20 Summer Street in Revere, Mass. for 2008.

           6                 THE COURT:     All right.   And for the final version,

           7      I'll ask you to black out that social security number.

           8                 MR. NORKUNAS:     And there's an alien registration

           9      number.    I would do both.      I think I'd be compelled to do that,

          10      Judge, yes.

          11                 THE COURT:     Thank you.

          12                 MR NORKUNAS:    And the other would be an excerpt from

          13      the transcript -- portions of which have already been

          14      introduced -- of January 8, 2016.        I would be introducing two

          15      additional pages, Judge, and I would -- I don't have it here,

          16      but I would add to a cover sheet to that showing that, and I

          17      believe that would be Exhibit 233.

          18                 THE COURT:     All right.   It's admitted, 233.

          19                 (Exhibit No. 233 received into evidence.)

11:51AM   20                 MR. NORKUNAS:     And I would just show that, but not

          21      read that, Judge, to the jury.

          22                 THE COURT:     All right.

          23                 MR. NORKUNAS:     At this point in time.     And that would

          24      showing conversations, again, portions of which have already

          25      come in to the jury by the various participants.          That's page
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           1      40 -- what is listed as page 40 and then page 41 as well.           That

           2      would bear the number 233, Judge, and I will add a brief cover

           3      sheet for that.

           4                 THE COURT:     All right.   And make sure the government

           5      agrees with the cover sheet before --

           6                 MR. POHL:    Thank you.

           7                 MR. NORKUNAS:     I would have no other.

           8                 THE COURT:     All right.   Other than Mr. Lopez' witness,

           9      any other evidence today?

11:52AM   10                 MR. IOVIENO:    No, your Honor, not from us.

          11                 MR. LOPEZ:     Your Honor, some of the documentary

          12      evidence will come in through the witness, so could I reserve

          13      my right to admit that on Tuesday?

          14                 THE COURT:     Yes.

          15                 MR. LOPEZ:     Thank you, your Honor.

          16                 THE COURT:     All right.   Ladies and gentlemen, before I

          17      forget, I should have done this this morning, and I forgot.

          18      There was a media report last night on NPR, National Public

          19      Radio, either about this case or about MS-13.          Did any of you

11:52AM   20      hear it or were you otherwise exposed to it?          All right.

          21      Everyone is shaking their head.        All right.   Thank you.

          22                 The good news is we are way ahead of schedule.          The

          23      evidence is almost closed.       We have a little bit that we're

          24      going to do on Tuesday morning.        I think Mr. Lopez has a

          25      witness who I think will probably be fairly short and I expect
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           1      that we'll proceed to the closing arguments and to the jury

           2      instructions on Tuesday.

           3                 That means you need to be prepared to be here all day

           4      on Tuesday.    I don't know how long this is going to take to do.

           5      I think we have a lot of ground to cover.         We're going to try

           6      to do all of that in one day.       You should be prepared to be

           7      here all day, that is, until 5:00 every day until you render a

           8      verdict, so it may spill into Wednesday and beyond.           It's

           9      really kind of -- once you get the case, it's up to you.             You

11:53AM   10      can take as much time as you think you need, or if you don't

          11      need much time, you can do that, too.        It's entirely up to you.

          12      There's no pressure on you whatsoever, but that is the

          13      anticipated schedule so I'm going to let you go for the day.

          14                 Again, we're going to start up Tuesday morning with

          15      what I think is going to be a relatively short defense witness,

          16      maybe some exhibits, proceed from there into the government

          17      closing, defense closing, the government rebuttal, my

          18      instructions, and I expect you will get the case on Tuesday.

          19                 You don't need to worry about lunch.        We'll bring you

11:54AM   20      lunch whenever you need to stay all day, so you don't have to

          21      pack anything, but I do think, again, if you don't get the case

          22      on Tuesday, you'll get it on Wednesday.         I think that's clearly

          23      our timetable at this point.

          24                 So, remember my instructions.       It's a three-day

          25      weekend because of President's Day.        Please take extra care not
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           1      to expose yourself to any media reports or to discuss the case

           2      among yourselves or with anyone else.        We're almost there and

           3      way ahead of schedule.

           4                 I do want to express my appreciation to you, to the

           5      lawyers for streamlining the case.        The case could have taken

           6      much longer to try and the lawyers made a lot of efforts to

           7      streamline it, which I very much appreciate.

           8                 So with that, I'll let you go.       Have a good weekend

           9      all and we will see you Tuesday morning.

11:55AM   10                 THE CLERK:    All rise.

          11                 (JURORS EXITED THE COURTROOM.)

          12                 THE COURT:    All right.    First off, who's closing for

          13      the government?

          14                 MR. POHL:    I'll be closing, your Honor.

          15                 THE COURT:    How long do you expect to take?

          16                 MR. POHL:    I guess I had thought that all of us would

          17      have an hour, but I'm happy to go shorter if the Court is

          18      inclined to do that.

          19                 THE COURT:    I'll give you an hour if you want.        Again,

11:56AM   20      like the openings, if you say you want an hour and it's an hour

          21      and five minutes, I'm not going to cut you off, but I don't

          22      want an hour and a half or two hours.        In other words, within

          23      reasonable bounds.

          24                 MR. POHL:    And, obviously, part of that would be

          25      reserved for rebuttal, but, yes.
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           1                 THE COURT:     Yes.    We'll talk about rebuttal in a

           2      moment.

           3                 MR. POHL:    Yes, thank you.

           4                 THE COURT:     Do we know the order of closing arguments?

           5                 MR. IOVIENO:    We discussed it briefly.

           6                 THE COURT:     Mr. Iovieno, how long do you expect to be.

           7                 MR. IOVIENO:    40 minutes.

           8                 THE COURT:     40, all right.    Mr. Norkunas.

           9                 MR. NORKUNAS:     Probably closer to 30, but I would just

11:56AM   10      say 40 for scheduling.

          11                 THE COURT:     Mr. Murphy.

          12                 MR. MURPHY:     I'd say I'd hope to get it to 30, but I'd

          13      like to reserve 40.

          14                 THE COURT:     Mr. Lopez.

          15                 MR. LOPEZ:     Since I've gone over with other things,

          16      I'll say 45 minutes, but I will work very hard to make it 30.

          17                 THE COURT:     Okay.   Obviously, I'm going to give

          18      everyone a lot of latitude.        I'm going to, as a practical

          19      matter, listen to what your colleagues are saying.           You don't

11:57AM   20      have to repeat every, in other words, if it's already been said

          21      twice, it doesn't need to be said a third time, but I'll leave

          22      it up to you.     Again, I'm not going to interrupt you if you're

          23      within reasonable bounds.

          24                 I will allow government rebuttal.       I usually say it

          25      should be two or three minutes.         You may have more to rebut
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           1      here, but the main point is it is true rebuttal, it is not a

           2      second bite at the apple but a chance to respond to arguments

           3      and that either you couldn't fairly anticipate or were not

           4      appropriate for you to address in your argument, and, you know,

           5      let's say 5 or 10 minutes is going to be the order of magnitude

           6      here, okay.

           7                 MR. POHL:    Thank you, your Honor.

           8                 THE COURT:    My jury instructions are going to be on

           9      the order of 60 or so pages unless we cut a bunch of things

11:58AM   10      out.   Again, everyone is going to have it in writing, but it's

          11      going to take some time to deliver.        I may break that up, and

          12      if it has to spill over Wednesday, it does.         We'll just see how

          13      all of this goes out.      I, obviously, prefer we get everything

          14      done Tuesday, but we'll see how it goes.

          15                 In terms of the charge conference, here's my schedule.

          16      I have a civil motion argument at 2:00, I think, or 2:15 with

          17      lawyers from out of town that I'm reluctant to postpone, and I

          18      have a meeting between 4:00 and 5:00.

          19                 What I propose to do is to have my clerk something

11:58AM   20      like that to all of you probably as a .pdf by e-mail the

          21      current draft jury instructions and the verdict form, and we

          22      can reconvene either at 3:00 or we can try to get going on it

          23      at let's say 1:30 if you think that would be more sensible, and

          24      we'll just go until we get it done.

          25                 I should add it will be in final form or at least
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           1      nearly final form.      We're going to be scrubbing it for typos.

           2      I will permit anyone in their closing to read from my charge

           3      because you'll have it in writing.        To say I expect

           4      Judge Saylor will instruct you X, and if you read it verbatim,

           5      I'll permit you to do that, not to go on for pages, but if you

           6      want to take something out of the instructions, you know, this

           7      is what a conspiracy is, whatever, I'll permit you to do that,

           8      again, within reason.

           9                 Let me stop there.     First off, does it make sense, do

12:00PM   10      you have time to digest it and meet at 1:30, and do the clients

          11      want to stay for what's really going to be a legal argument?

          12                 MR. IOVIENO:    Can I just have a moment, your Honor?

          13                 THE COURT:     Yes.

          14                 MR. LOPEZ:     Yes, your Honor, they would like to stay.

          15                 MR. IOVIENO:    My client would like to be excused.

          16                 MR. NORKUNAS:     Same, Judge.

          17                 MR. MURPHY:     Mr. Sandoval would like to stay.

          18                 THE COURT:     So we'll keep two of them, we'll keep

          19      Mr. Murphy's client and Mr. Lopez's client, and my apologies to

12:00PM   20      the marshals, I have to get this done one way or the other, I'm

          21      just going to do the best I can and get everybody in the van

          22      and out of here, but the schedule is the schedule, and I don't

          23      want to delay that any further.

          24                 MR. POHL:    Maybe that fact weighing on the scale tends

          25      to suggest that maybe we should try at 1:30, you know --
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           1                 THE COURT:     We'll meet at 1:30 and just see if we can

           2      get anything done and then we'll break, and I'll try to

           3      expedite this motion hearing.        People have gotten on planes

           4      from wherever, and I just don't want to send them home.

           5                 MR. IOVIENO:    The only thing if it's going to be by

           6      e-mail, I'm going to be forced to look at it on my phone.

           7                 MR. POHL:    We'll help with that.

           8                 THE COURT:     Or we can deliver.

           9                 MR. NORKUNAS:     Mr. Murphy has just volunteered, Foley

12:01PM   10      & Hoag, we may be charged though.

          11                 THE COURT:     We can also bring paper copies to the

          12      courtroom as well, you know, we have government printers that

          13      are not as high speed as you have in your private practice, but

          14      we'll try to accommodate as best we can.

          15                 MR. POHL:    All right.    Thank you, your Honor.

          16                 MR. NORKUNAS:     Thank you, your Honor.

          17                 (Whereupon, the hearing was adjourned at 12:02 p.m.)

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 1                               C E R T I F I C A T E

 2

 3      UNITED STATES DISTRICT COURT )

 4      DISTRICT OF MASSACHUSETTS ) ss.

 5      CITY OF BOSTON )

 6

 7                  I do hereby certify that the foregoing transcript was

 8      recorded by me stenographically at the time and place aforesaid

 9      in Criminal Action No. 15-10338-FDS, UNITED STATES vs. HERZZON

10      SANDOVAL, et al., and thereafter by me reduced to typewriting

11      and is a true and accurate record of the proceedings.

12                  Dated this 22nd day of June, 2018.

13                                  s/s Valerie A. O'Hara

14                                  _________________________

15                                   VALERIE A. O'HARA

16                                   OFFICIAL COURT REPORTER

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